Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 1 of 96




                       EXHIBIT 10
      Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 2 of 96




                         SEAFOOD COMPENSATION PROGRAM

                                     TABLE OF CONTENTS
                                                                          Page

GENERAL FRAMEWORK AND OVERVIEW OF SEAFOOD COMPENSATION                       3
PROGRAM DISTRIBUTION
SHRIMP COMPENSATION PLAN                                                     4
I.       Expedited Compensation Method                                       8
II.      Reduced Expedited Method                                           13
III.     New Entrant Compensation Method                                    15
IV.      Historical Revenue Method                                          18
V.       Vessel Lease Compensation Allocation                               24
OYSTER COMPENSATION PLAN                                                    25
1.       Oyster Leaseholder Interest Compensation                           28
2.       Oyster Leaseholder Lost Income Compensation                        29
3.       Oyster Harvester Lost Income Compensation                          30
4.       Vessel Lease Compensation Allocation                               40
FINFISH COMPENSATION PLAN                                                   41
I.       Historical Revenue Method                                          44
II.      Compensation for IFQ Quota Holders                                 49
III.     Vessel Lease Compensation Allocation                               50
BLUE CRAB/OTHER SEAFOOD COMPENSATION PLAN                                   52
I.       Historical Revenue Method                                          56
II.      Vessel Lease Compensation Allocation                               63
SEAFOOD CREW COMPENSATION PLAN                                              65
I.       Category I Crew Compensation                                       68
II.      Category II Crew Compensation                                      70
III.     Category III Crew Compensation                                     78
SEAFOOD SPILL-PAYMENT REDUCTION PROCEDURES                                  85




                                                                          029298
    Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 3 of 96




                              SEAFOOD COMPENSATION PROGRAM

                                                 OVERVIEW

The Seafood Compensation Program shall cover and compensate Commercial Fishermen,
Seafood Boat Captains, all other Seafood Crew, Oyster Leaseholders, and Seafood Vessel
Owners for economic loss claims relating to Seafood.1 All economic loss claims by Commercial
Fishermen, Seafood Boat Captains, all other Seafood Crew, Oyster Leaseholders, and Seafood
Vessel Owners relating to Seafood will be part of and must be brought under the Seafood
Compensation Program.2

The Seafood Compensation Program is divided into the following compensation categories and
claim types:

                                                    TABLE 1

                    CATEGORY                                         COMPENSABLE CLAIMS
Shrimp                                                     •        Vessel Owner/Commercial Fisherman
                                                                    Vessel Lessee claims
                                                           •        Boat Captain claims
Oyster                                                     •        Leaseholder Interest claims
                                                           •        Leaseholder Lost Income claims
                                                           •        Vessel Owner/Oyster Harvester Vessel
                                                                    Lessee claims
                                                           •        Boat Captain claims
Finfish                                                    •        Vessel Owner/Commercial Fisherman
                                                                    Vessel Lessee claims
                                                           •        Boat Captain claims
                                                           •        Individual Fishing Quota holder claims
Blue Crab/Other Seafood                                    •        Vessel Owner/Commercial Fisherman
                                                                    Vessel Lessee claims (including crab
                                                                    trap damage)
                                                           •        Boat Captain claims




1
     The terms Commercial Fisherman, Seafood Boat Captains, Seafood Crew, Oyster Leaseholders and Seafood
     Vessel Owners as defined in the “Seafood Distribution Chain Definitions” (Exhibit 3 to the Deepwater Horizon
     Economic and Property Damages Settlement Agreement) shall apply in this Seafood Compensation Program.
2
     To the extent terms herein are defined in the Deepwater Horizon Economic And Property Damages Settlement
     Agreement, those definitions shall apply in the Seafood Compensation Program. Nevertheless, any term
     specifically defined within the Seafood Compensation Program, shall be interpreted as set forth in this Seafood
     Compensation Program, notwithstanding any contrary definition in the Deepwater Horizon Economic And
     Property Damages Settlement Agreement.




                                                                                                             029299
    Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 4 of 96




                CATEGORY                                 COMPENSABLE CLAIMS
Seafood Crew (excluding Boat Captains) for         •    Crew claimants with standard
all Seafood industries                                  documentation
                                                   •    Crew claimants with documentation
                                                        supplied by employer
                                                   •    Crew claimants with documentation
                                                        supplied by non-employers


For each category and compensable claim type, a Claimant will have to establish that the
Claimant is a Class Member and meets the separate eligibility requirements defined below. In
addition, Claimants are subject to the requirements of the Deepwater Horizon Economic And
Property Damages Settlement Agreement and any applicable Court order, except as otherwise
modified or provided by the Seafood Compensation Program.

Claimants are able to file a single Seafood Compensation Program Sworn Claim Form seeking
compensation for multiple compensable claims. A Claimant filing a claim under the different
plan in the Seafood Compensation Program, may be required to use different historical
information for the Benchmark Period and must review the definition of Benchmark Period in
each plan. For example, the Claimant may use a different Benchmark Period for the Claimant’s
claim under the Shrimp Compensation Plan and the Claimant’s claim under the Oyster
Compensation Plan. The following provides a non-exhaustive list of examples in which a single
claimant might be eligible to receive compensation for multiple compensable claims:

•      A shrimp Vessel Owner/Commercial Fisherman Vessel Lessee who is also a shrimp Boat
       Captain may be eligible to receive compensation both as a shrimp Vessel
       Owner/Commercial Fisherman Vessel Lessee and shrimp Boat Captain.
•      An oyster leaseholder may be eligible to receive compensation for both Leaseholder
       Interest and Leaseholder Lost Income claims. If the oyster leaseholder claimant is also a
       Vessel Owner/Commercial Fisherman Vessel Lessee and a Boat Captain, that claimant
       may be eligible to receive compensation as both an oyster Vessel Owner/Commercial
       Fisherman Vessel Lessee and an oyster Boat Captain.
•      A claimant who is a Boat Captain for vessel(s) in both the blue crab industry and shrimp
       industry may be eligible to receive compensation under applicable blue crab and shrimp
       categories.

Seafood Compensation Program Sworn Claim Forms may be submitted at any time after entry of
the Preliminary Approval Order, but no later than thirty (30) days from the date of entry of the
Final Order and Judgment of the District Court ruling upon final approval of the Settlement (Bar
Date). Claims will be processed and paid as expeditiously as possible by the Claims
Administrator.

It is expressly acknowledged that the fact that a Claimant has made a claim and/or received
compensation under the Seafood Compensation Program, does not preclude that claimant from
making an independent claim and/or receiving compensation under the Deepwater Horizon
Economic And Property Damages Settlement Agreement.

                                               2
                                                                                          029300
    Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 5 of 96




Compensation received by an eligible Claimant under the Seafood Compensation Program will
be reduced by the amount of prior Seafood Spill-Related Payments as described in the Seafood
Spill Related Payment Reduction Procedures in this document.3 No other reductions to the
compensation amount under the Seafood Compensation Program will be taken, including
compensation received for work in the VoO Program or compensation for VoO Damages under
the Settlement.

The Seafood Compensation Program shall cover and compensate the economic loss claims for
Commercial Fishermen, Seafood Crew, Oyster Leaseholders, and Seafood Vessel Owners. It
does not cover subsistence claims.

     General Framework and Overview of Seafood Compensation Program Distribution

The Seafood Compensation Program is estimated to result in prompt claims payments totaling
more than $1.9 billion representing approximately 83% of the $2.3 billion Seafood
Compensation Program Amount. After applying the terms of the Deepwater Horizon Economic
And Property Damages Settlement Agreement (including determining the Seafood
Compensation Program Amount) and paying the eligible Seafood Compensation Program
claims, the Claims Administrator shall determine the amount of funds, if any, constituting the
remaining Seafood Compensation Program Amount. In the event there are Seafood
Compensation Program Amount funds remaining, such funds will be distributed to claimants that
received compensation from the Seafood Compensation Program. The balance will be
distributed to each Claimant in proportion to the Claimant’s gross compensation expressed as a
share of the gross compensation paid by the Claims Administrator to all claimants under the
Seafood Compensation Program.4 Gross compensation reflects compensation paid by the Claims
Administrator prior to deduction for Seafood Spill-Related Payments. If, however, the Court-
Appointed Neutral determines that a distribution other than purely proportional would be more
appropriate in light of the information available at the time of the second distribution, he may
recommend to the Court that the second distribution be reallocated in an alternative fashion.
Any such reallocation will be subject to court approval.




3
     Seafood Spill-Related Payments are defined as compensation paid to a claimant through the OPA Process, by
     BP, the GCCF, or through the Transition Facility for economic loss claims relating to Seafood.
4
     All claimants who receive compensation under the Seafood Compensation Program are entitled to a share of the
     distribution of the balance whether or not their individual claims have been characterized as “lump sum” or a
     similar term, and whether or not they are members of Categories II and III of the Seafood Crew Compensation
     Plan (each of which provides for an Aggregate Compensation Amount, which shall not apply as a limitation to a
     Claimant’s entitlement to a share of the balance to be distributed).


                                                        3
                                                                                                           029301
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 6 of 96




                              SHRIMP COMPENSATION PLAN

Generally Applicable Provisions of the Shrimp Compensation Plan:

1.      Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
        exclusions to the Economic Loss and Property Class Definition, (ii) who are Vessel
        Owners, Commercial Fishermen who lease Seafood Vessels (Commercial Fisherman
        Vessel Lessee), and/or Seafood Boat Captains that derive earnings from commercial
        shrimping and (iii) who meet the additional criteria listed in this Shrimp Compensation
        Plan.

2.      It is understood that in some instances, the Vessel Owner is also the Commercial
        Fisherman; however, it may be the case that the Vessel Owner leased the vessel to a
        Commercial Fisherman. In those instances where the vessel was leased during the time
        period of April 20, 2010 to December 31, 2010, the Vessel Owner and Commercial
        Fisherman Vessel Lessee must file the vessel claim jointly in order to receive
        compensation prior to the Bar Date, and they shall share any Vessel Owner/Commercial
        Fisherman Vessel Lessee compensation provided for in this Shrimp Compensation Plan.
        If at the time of the Bar Date either the Vessel Owner or the Commercial Fisherman
        Vessel Lessee has not filed a claim, the one that has filed the claim shall receive the full
        Vessel Owner/Commercial Fisherman Vessel Lessee compensation for the vessel. The
        allocation of compensation between Vessel Owner and Commercial Fisherman Vessel
        Lessee shall be determined as provided in Section V. If the vessel was not leased to a
        Commercial Fisherman Vessel Lessee during the time period of April 20, 2010 to
        December 31, 2010, the Vessel Owner is entitled to the full Vessel Owner/Commercial
        Fisherman Vessel Lessee compensation for the vessel.

3.      It is understood that in some instances, the Vessel Owner and/or the Commercial
        Fisherman Vessel Lessee is also the Boat Captain. In those instances where the Vessel
        Owner and/or the Commercial Fisherman Vessel Lessee were also the Boat Captain, they
        shall be eligible to receive the Boat Captain compensation portion for the vessel under the
        Shrimp Compensation Plan as set forth below. If the Vessel Owner and/or Commercial
        Fisherman Vessel Lessee employed a Boat Captain on the vessel and did not serve as a
        Boat Captain on that vessel, the hired Boat Captain is eligible for the Boat Captain
        compensation, not the Vessel Owner or Commercial Fisherman Vessel Lessee.

4.      To establish eligibility to participate in the Shrimp Compensation Plan, a Vessel Owner
        Claimant must provide for each vessel(s) for which the Claimant is seeking
        compensation:

        A.     Proof of ownership of the vessel during the time period of April 20, 2010 to
               December 31, 2010.

        B.     Proof that as of April 20, 2010 there was a government license (even if it had
               expired before that date) that authorized that vessel to commercially fish for
               shrimp in the Specified Gulf Waters for the 2009 season or the 2010 season.
               However, a Vessel Owner who did not have such a license for the vessel can

                                                 4
                                                                                              029302
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 7 of 96




               participate in the Shrimp Compensation Plan for that vessel if the Claimant can
               establish the criteria for the New Entrant Compensation Method as described in
               Section III below.

        C.     The vessel name and any applicable federal and/or state vessel registration
               numbers.

        D.     Proof that either:

               1.     the vessel was home ported in the Gulf Coast Areas at any time from
                      April 20, 2010 to April 16, 2012; or,

               2.     the vessel landed shrimp in the Gulf Coast Areas at any time from
                      April 20, 2009 to April 16, 2012.

        E.     A sworn statement attesting as to whether or not the vessel was leased during the
               time period April 20, 2010 to December 31, 2010. If the vessel was leased during
               this time period, the Vessel Owner must provide a copy of the lease agreement.

        F.     A sworn statement attesting as to whether or not the Vessel Owner was the Boat
               Captain for that vessel during January 1, 2007 through December 31, 2009. If the
               Vessel Owner was not the sole Boat Captain for that vessel for some portion of
               January 1, 2007 through December 31, 2009, to the extent possible, the Claimant
               shall identify all other Boat Captains employed on the vessel and the time periods
               for which the Boat Captains were employed.

5.      To establish eligibility to participate in the Shrimp Compensation Plan, a Commercial
        Fisherman Vessel Lessee must provide for each vessel for which the claimant seeks
        compensation:

        A.     Proof that during the period of April 20, 2010 through December 30, 2010 the
               Claimant leased the vessel to be used for commercial shrimping.

        B.     Proof that as of April 20, 2010 there was a government license (even if it had
               expired before that date) that authorized that vessel to commercially fish for
               shrimp in the Specified Gulf Waters for the 2009 season or the 2010 season.
               However, a Commercial Fisherman Vessel Lessee who did not have such a
               license for the vessel can participate in the Shrimp Compensation Plan for that
               vessel if the Claimant can establish the criteria for the New Entrant Compensation
               Method as described in Section III below.

        C.     The vessel name and any applicable federal and/or state vessel registration
               identification numbers.

        D.     Proof that either:

               1.     the vessel was home ported in the Gulf Coast Areas at any time from
                      April 20, 2010 to April 16, 2012; or,

                                               5
                                                                                           029303
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 8 of 96




                  2.      the vessel landed shrimp in the Gulf Coast Areas at any time from
                          April 20, 2009 to April 16, 2012.

          E.      A sworn statement, attesting that the Commercial Fisherman Vessel Lessee leased
                  the vessel during the time period of April 20, 2010 to December 31, 2010. The
                  Commercial Fisherman Vessel Lessee must also provide a copy of the lease
                  agreement for the vessel.

          F.      A sworn statement attesting as to whether or not the Commercial Fisherman
                  Vessel Lessee was the Boat Captain for that vessel during January 1, 2007
                  through December 31, 2009. If the Commercial Fisherman Vessel Lessee was not
                  the sole Boat Captain for that vessel for some portion of January 1, 2007 through
                  December 31, 2009, to the extent possible, the Claimant shall identify all other
                  Boat Captains employed on the vessel and the time periods for which the Boat
                  Captains were employed.

6.        To establish eligibility to participate in the Shrimp Compensation Plan a Boat Captain
          must provide:

          A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                  (even if it had expired before that date) authorizing the Claimant to operate as a
                  Boat Captain and/or to commercially fish for shrimp in the Specified Gulf Waters
                  for the 2009 season or the 2010 season.

          B.      Proof that either the Boat Captain worked:

                  1.      on one or more commercial shrimping vessels home ported in the Gulf
                          Coast Areas at any time from April 20, 2010 to April 16, 2012; or,

                  2.      on one or more commercial shrimping vessels that landed shrimp in the
                          Gulf Coast Areas at any time from April 20, 2009 to April 16, 2012.

7.        A Vessel Owner/Commercial Fisherman Vessel Lessee who does not have either a 2009
          or 2010 fishing license or proof of shrimp landings in 2009, 2010 or 2011 can participate
          in the Shrimp Compensation Program if that Vessel Owner can establish the criteria for
          the New Entrant Compensation Method as defined in Section III below. Additionally, a
          Boat Captain who had not previously worked as a Boat Captain for a commercial
          shrimping vessel in the Gulf Coast Areas and who prior to April 20, 2010 had a written
          job offer for employment as a Boat Captain on a vessel home ported in the Gulf Coast
          Areas for the 2010 shrimping season may be able to establish the criteria for the New
          Entrant Compensation Method as defined in Section III below.

8.        A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
          Related Payments. If the Claimant received Seafood Spill-Related Payments, the
          Claimant shall provide documents5 sufficient to establish the timing, amount and source
5
      When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
      copies or originals of the documents.

                                                     6
                                                                                                    029304
    Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 9 of 96




         of Seafood Spill-Related Payments, including documents providing the claimant’s
         BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
         payments.

Shrimp Compensation Plan Definitions:

Benchmark Period6 is selected by the Claimant and can be (i) 2009, (ii) 2008 and 2009, or (iii)
2007, 2008 and 2009. If the Claimant elects to use years 2008 and 2009 or 2007, 2008, and
2009, the annual revenue amounts shall be averaged. In the event the Claims Administrator
determines that the Claimant (individual or vessel) did not participate at the same level of effort
in shrimp harvesting due to circumstances beyond the Claimant’s control (such as illness,
disability or major mechanical failure), the Claims Administrator may at his discretion allow the
Claimant to exclude one or more years of the Benchmark Period.

A Vessel Owner or Commercial Fisherman Vessel Lessee must submit separate Vessel
Owner/Commercial Fisherman Vessel Lessee claims for each vessel they owned or leased and
may select different Benchmark Periods for different vessels.

A Boat Captain’s claim reflects the Claimant’s activities on all vessels, and the Boat Captain
must select a single Benchmark Period for the Claimant’s claim.

A Vessel Owner or Commercial Fisherman Vessel Lessee who also submits a Boat Captain
claim may select different Benchmark Periods for the Claimant’s Vessel Owner/Commercial
Fisherman Vessel Lessee claim and the Claimant’s Boat Captain claim.

Compensation Plan Methods:

There are four methods for a Vessel Owner/Commercial Fisherman Vessel Lessee and/or Boat
Captain to be compensated under the Shrimp Compensation Plan. The options are:

•        Expedited Compensation Method
•        Reduced Expedited Compensation Method
•        New Entrant Compensation Method
•        Historical Revenue Method

A Vessel Owner or Commercial Fisherman Vessel Lessee may select different Compensation
Plan Methods for different vessels. There is no qualifying revenue level required for the
Historical Revenue Method. The qualifying vessel revenue for the Expedited Compensation
Method and Reduced Expedited Compensation Method is summarized in the second column of
Table 2 and the compensation amount is summarized in the third column. The eligibility,
documentation and details of each method are described more fully in Sections I and II below.


6
     For the Seafood Compensation Program, the Benchmark Period is defined independently for each Seafood
     Compensation Program Plan and is set forth within the specific Plan. Definitions of Benchmark Period in any
     other frameworks in the Deepwater Horizon Economic And Property Damages Settlement Agreement do not
     apply in the Seafood Compensation Program.


                                                       7
                                                                                                         029305
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 10 of 96




A Boat Captain must select a single Compensation Method for his claim. There is no qualifying
revenue for the Historical Revenue Method. The qualifying vessel revenue for the Expedited
Compensation Method and Reduced Expedited Compensation Method must be made based on
revenue for a single vessel size and type category (but not necessarily for a single vessel). The
qualifying revenue for the Expedited Compensation Method and Reduced Expedited
Compensation Method is summarized in the second column of Table 2 and the compensation
amount is summarized in the third and fourth columns. The eligibility, documentation and
details of each method are described more fully in Sections I and II below.

                                            TABLE 2

                  Qualifying Vessel Revenue and Compensation for Expedited
                               and Reduced Expedited Methods

                                                           Vessel
                                                     Owner/Commercial
                                    Qualifying        Fisherman Vessel
                                      Vessel               Lessee      Boat Captain
         Vessel Size                 Revenue           Compensation    Compensation

         Expedited Method:
           < 30 feet                    $32,500               $104,063           $92,813
           30 - 44 feet                 $40,000               $135,281          $107,250
           45 - 74 feet (Ice)           $90,000               $270,563          $160,875
           45 - 74 feet (Freezer)      $275,000               $478,688          $284,625
           75+ feet (Ice)              $225,000               $416,250          $206,250
           75+ feet (Freezer)          $400,000               $582,750          $288,750

         Reduced Expedited Method:
           < 30 feet                   N/A                 N/A                 N/A
           30 - 44 feet                 $25,000                $62,438          $49,500
           45 - 74 feet (Ice)           $50,000               $145,688          $86,625
           45 - 74 feet (Freezer)      $200,000               $333,000         $198,000
           75+ feet (Ice)              $150,000               $291,375         $144,375
           75+ feet (Freezer)          $290,000               $457,875         $226,875



I.       Expedited Compensation Method

          A.     Eligibility Requirements

                1.      Vessel Owner/Commercial Fisherman Vessel Lessee

In order to qualify for compensation under the Expedited Compensation Method, the Vessel
Owner/Commercial Fisherman Vessel Lessee must provide for each vessel:



                                                 8
                                                                                           029306
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 11 of 96




                   a.     A copy of the 2009 or 2010 governmental issued vessel
                          registration for each of Claimant’s vessel(s) establishing the home
                          port of the vessel was within the states of Louisiana, Mississippi
                          and Alabama or a Florida registered vessel with its home port in
                          the counties of Escambia, Santa Rosa, Okaloosa, Walton, Holmes,
                          Washington, Bay, Jackson, Calhoun, Gulf, Liberty, Franklin,
                          Gadsden, Leon, Wakulla in the State of Florida; and,

                   b.     Proof of revenue from commercial shrimping equal to or greater
                          than the Qualifying Revenue in Table 3 based on vessel size and
                          type for the Benchmark Period.

             2.    Boat Captains

In order to qualify for compensation under the Expedited Compensation Method, the Boat
Captain must provide for each vessel:

                   a.     Proof that during the Benchmark Period:

                          i.     the Claimant was a Boat Captain on a commercial
                                 shrimping vessel with the home port of the vessel that was
                                 within the states of Louisiana, Mississippi and Alabama or
                                 a Florida registered vessel with its home port in the
                                 counties of Escambia, Santa Rosa, Okaloosa, Walton,
                                 Holmes, Washington, Bay, Jackson, Calhoun, Gulf,
                                 Liberty, Franklin, Gadsden, Leon, Wakulla in the State of
                                 Florida; and,

                          ii.    the vessel had revenue from commercial shrimping equal to
                                 or greater than the Qualifying Revenue in Table 3 based on
                                 vessel size and type for the Benchmark Period. A Boat
                                 Captain may combine vessel revenue from multiple vessels
                                 of the same size and type for the Benchmark Period; and,

                          iii.   the Claimant was the Boat Captain of the vessel during the
                                 time period for which the vessel generated the revenue on
                                 which the Claimant relies to establish the Qualifying
                                 Revenue for the Benchmark Period reported in Table 3.




                                           9
                                                                                       029307
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 12 of 96




                                          TABLE 3

              VESSEL SIZE                           QUALIFYING VESSEL REVENUE
                  <30 feet                                    $32,500
                 30-44 feet                                   $40,000
               45-74 feet Ice                                 $90,000
             45-74 feet Freezer                              $275,000
                75+ feet Ice                                 $225,000
              75+ feet Freezer                               $400,000

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Expedited Compensation Method must provide documents sufficient to prove eligibility pursuant
to the applicable paragraphs of the “Generally Applicable Provisions of the Shrimp
Compensation Plan” and the requirements in Section I.A.1, and to determine compensation
pursuant to Section I.C below, including the following:

                     a.     Trip Tickets or their equivalents such as dealer forms, which show
                            the volume of shrimp harvested and the sales price as shown on the
                            trip tickets or their equivalents for the Benchmark Period. The total
                            volume multiplied by the price will be the applicable gross
                            revenue.

                            – OR –

                     b.     Federal or state tax and financial information as follows:

                            i.       If Claimant is an entity, federal or state tax returns and
                                     sufficient documentation to identify those components of
                                     gross revenue derived from commercial shrimp harvesting
                                     by vessel for the Benchmark Period for each vessel for
                                     which the Claimant submits a Vessel Owner/Commercial
                                     Fisherman Vessel Lessee claim.

                            ii.      If Claimant is an individual, federal form 1040 including
                                     Schedules C, E and F or state tax forms with supporting
                                     documents, as well as sufficient documentation to identify
                                     those components of earnings derived from commercial
                                     shrimp harvesting by vessel for the Benchmark Period.

                            iii.     In addition, the Claimant must provide sufficient
                                     documentation for the Claims Administrator to be able to
                                     identify (i) Claimant’s revenue from shrimping as

                                              10
                                                                                           029308
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 13 of 96




                                      compared to other sources, (ii) Claimant’s revenue from
                                      landings in the Gulf Coast Areas. If necessary, the Claims
                                      Administrator may require supplemental information from
                                      the Claimant in order to make these determinations.

                      c.     Also, the Claimant must provide documentation sufficient to
                             establish the vessel size and type for each vessel for which the
                             Claimant seeks compensation.

                      d.     In addition, if available, it is requested that the Claimant also
                             provide the following documents, to assist the Claims
                             Administrator:

                             i.       Vessel log book

                             ii.      Share sheets

                             iii.     Sales or other production reports maintained in the normal
                                      course of business.

              2.      Boat Captains

Boat Captains seeking compensation under the Expedited Compensation Method must provide
documents sufficient to prove eligibility pursuant to the applicable paragraphs of the “Generally
Applicable Provisions of the Shrimp Compensation Plan” and the eligibility requirements in
Section I.A.2, and to determine compensation pursuant to Section I.C below, including the
following:

                      a.     Trip Tickets or their equivalents for each vessel, which show the
                             volume of shrimp harvested and the sales price as shown on the
                             trip tickets or their equivalents for the Benchmark Period. The
                             total volume multiplied by the price will be the applicable gross
                             revenue.

                             – OR –

                      b.     Federal tax returns, including Schedules C, E and F, W-2s, and
                             1099s or state tax returns and supporting documents for the
                             Benchmark Period and sufficient documentation to identify those
                             components of earnings derived from commercial shrimp
                             harvesting for the Benchmark Period for the vessel(s) selected by
                             the Claimant. In addition, the Claimant must provide sufficient
                             documentation for the Claims Administrator to be able to identify
                             revenue from shrimp landings in the Gulf Coast Areas for each
                             vessel while the Claimant was Boat Captain. If necessary, the
                             Claims Administrator may require supplemental information from
                             the Claimant in order to make these determinations.


                                               11
                                                                                           029309
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 14 of 96




                     c.      Also, the Claimant must provide documentation sufficient to
                             establish the vessel size and type for the vessel(s) for which the
                             Claimant seeks compensation.

                     d.      In addition, if available, it is requested that the Claimant also
                             provide the following documents, to assist the Claims
                             Administrator:

                             i.     Captain’s log book

                             ii.    Vessel log book

                             iii.   Share sheets

                             iv.    Sales or other production reports maintained in the normal
                                    course of business.

        C.     Compensation Amounts

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee Compensation

If the Claims Administrator determines that the Vessel Owner or Commercial Fisherman Vessel
Lessee has provided necessary proof of eligibility and the required documentation, the Claimant
shall receive the Vessel Owner/Commercial Fisherman Vessel Lessee Compensation for the
vessel set forth in Table 4. The Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation includes an RTP of 8.25. A Claimant may have more than one vessel and is
eligible for compensation for each vessel for which the Claimant independently satisfies the
eligibility and documentation requirements.

                                          TABLE 4

              VESSEL SIZE                          VESSEL OWNER/COMMERCIAL
                                                    FISHERMAN VESSEL LESSEE
                                                         COMPENSATION
                  <30 feet                                  $104,063
                 30-44 feet                                 $135,281
               45-74 feet Ice                               $270,563
             45-74 feet Freezer                             $478,688
                75+ feet Ice                                $416,250
              75+ feet Freezer                              $582,750

              2.     Boat Captain Compensation

If the Claims Administrator determines that the Boat Captain has provided necessary proof of
eligibility and the required documentation for a vessel, the Claimant shall receive the Boat


                                              12
                                                                                         029310
  Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 15 of 96




Captain Compensation set forth in Table 5. The Boat Captain Compensation includes an RTP of
7.25.

                                          TABLE 5

             VESSEL SIZE                          BOAT CAPTAIN COMPENSATION
                 <30 feet                                    $92,813
                30-44 feet                                  $107,250
              45-74 feet Ice                                $160,875
            45-74 feet Freezer                              $284,625
               75+ feet Ice                                 $206,250
             75+ feet Freezer                               $288,750

II.    Reduced Expedited Compensation Method

If a Claimant does not qualify for the Expedited Compensation Method, the Claimant may
qualify for the Reduced Expedited Compensation Method for each vessel.

       A.      Eligibility Requirements

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee

In order to qualify for compensation under the Reduced Expedited Compensation Method, the
Vessel Owner/Commercial Fisherman Vessel Lessee must provide for each vessel:

                     a.     A copy of the 2009 or 2010 governmental issued vessel
                            registration for each of Claimant’s vessel(s) establishing the home
                            port of the vessel was within the states of Louisiana, Mississippi
                            and Alabama or a Florida registered vessel with its home port in
                            the counties of Escambia, Santa Rosa, Okaloosa, Walton, Holmes,
                            Washington, Bay, Jackson, Calhoun, Gulf, Liberty, Franklin,
                            Gadsden, Leon, Wakulla in the State of Florida; and,

                     b.     Proof of revenue from commercial shrimping equal to or greater
                            than the Qualifying Revenue in Table 6 based on vessel size and
                            type for the Benchmark Period.

              2.     Boat Captains

In order to qualify for compensation under the Reduced Expedited Compensation Method, the
Boat Captain must provide for each vessel:

                     a.     Proof that during the Benchmark Period:

                            i.     the Claimant was a Boat Captain on a commercial
                                   shrimping vessel with the home port of the vessel that was

                                             13
                                                                                         029311
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 16 of 96




                                    within the states of Louisiana, Mississippi and Alabama or
                                    a Florida registered vessel with its home port in the
                                    counties of Escambia, Santa Rosa, Okaloosa, Walton,
                                    Holmes, Washington, Bay, Jackson, Calhoun, Gulf,
                                    Liberty, Franklin, Gadsden, Leon, Wakulla in the State of
                                    Florida; and,

                             ii.    the vessel had revenue from commercial shrimping equal to
                                    or greater than the Qualifying Revenue in Table 6 based on
                                    vessel size and type for the Benchmark Period, a Boat
                                    Captain may combine vessel revenue from multiple vessels
                                    of the same size and type for the Benchmark Period; and,

                             iii.   the Claimant was the Boat Captain of the vessel during the
                                    time period for which the vessel generated the revenue on
                                    which the Claimant relies to establish the Qualifying
                                    Revenue for the Benchmark Period reported in Table 6.

                                          TABLE 6

               VESSEL SIZE                          QUALIFYING VESSEL REVENUE
                   <30 feet                                     n/a
                  30-44 feet                                  $25,000
                45-74 feet Ice                                $50,000
              45-74 feet Freezer                             $200,000
                 75+ feet Ice                                $150,000
               75+ feet Freezer                              $290,000

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

See documentation requirements for Vessel Owner/Commercial Fisherman Vessel Lessee
Claimants under Expedited Compensation Method in Section I above.

              2.     Boat Captains

See documentation requirements for Boat Captain Claimants under Expedited Compensation
Method in Section I above.

       C.     Compensation Amounts

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee Compensation

If the Claims Administrator determines that the Vessel Owner or Commercial Fisherman Vessel
Lessee has provided necessary proof of eligibility and the required documentation for a vessel,

                                              14
                                                                                         029312
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 17 of 96




the Claimant shall receive the Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation set forth in Table 7. The Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation includes an RTP of 8.25. A Claimant may have more than one vessel and is
eligible for compensation for each vessel for which the Claimant independently satisfies the
eligibility and documentation requirements.

                                          TABLE 7

             VESSEL SIZE                           VESSEL OWNER/COMMERCIAL
                                                    FISHERMAN VESSEL LESSEE
                                                         COMPENSATION
                 <30 feet                                      n/a
                30-44 feet                                   $62,438
              45-74 feet Ice                                $145,688
            45-74 feet Freezer                              $333,000
               75+ feet Ice                                 $291,375
             > 75 feet Freezer                              $457,875

              2.     Boat Captain Compensation

If the Claims Administrator determines that the Boat Captain has provided necessary proof of
eligibility and the required documentation, the Claimant shall receive the Boat Captain
Compensation set forth in Table 8. The Boat Captain Compensation includes an RTP of 7.25.

                                          TABLE 8

             VESSEL SIZE                           BOAT CAPTAIN COMPENSATION
                 <30 feet                                       n/a
                30-44 feet                                    $49,500
              45-74 feet Ice                                  $86.625
            45-74 feet Freezer                               $198,000
               75+ feet Ice                                  $144,375
             75+ feet Freezer                                $226,875

III.   New Entrant Compensation Method

       A.      Eligibility Requirements

              1.     Vessel Owner

In order to qualify for the New Entrant Compensation Method, the Vessel Owner/Commercial
Fisherman Vessel Lessee must establish for each vessel that as of April 20, 2010:

                     a.     If the vessel is over 30 feet:

                                              15
                                                                                      029313
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 18 of 96




                           i.      the Claimant owned or leased the vessel and the vessel was
                                   specifically designed for commercial shrimping, such as a
                                   trawler, freezer boat, or ice boat, and

                           ii.     the Claimant had expenditures in excess of $25,000 within
                                   12 months prior to April 20, 2010 for purchase or repair of
                                   the vessel.

                    b.     If the vessel is less than or equal to 30 feet:

                           i.      the Claimant owned or leased a vessel and intended to use
                                   the vessel predominantly as a shrimping boat, and

                           ii.     the Claimant had expenditures for the vessel on shrimping
                                   gear, such as trawls, nets, iceboxes, or winches, in excess
                                   of $6,000 within 12 months prior to April 20, 2010.

             2.     Boat Captains

A Claimant may receive Boat Captain compensation under the New Entrant Compensation
Method if the Claimant: (i) qualifies for compensation as a Vessel Owner/Commercial
Fisherman Vessel Lessee under the New Entrant Compensation Method for the same vessel and
(ii) has not submitted a separate claim for compensation as a Boat Captain under any Shrimp
Compensation Plan. Such Claimant cannot qualify as a Boat Captain for more than one vessel
under the New Entrant Compensation Method.

Additionally, a Claimant who had not previously worked as a Boat Captain for a commercial
shrimping vessel home ported in the Gulf Coast Areas may receive Boat Captain compensation
under the New Entrant Compensation Method if the Claimant provides proof:

                    a.     of an agreement entered prior to April 20, 2010 with a Vessel
                           Owner/Commercial Fisherman Vessel Lessee for employment as a
                           Boat Captain on a commercial shrimping vessel home ported in the
                           Gulf Coast Areas during April 20, 2010 to December 31, 2010 that
                           is supported by some written documentation that pre-dates April
                           20, 2010.

                    b.     information sufficient to establish the proposed compensation,
                           such as proposed start and end dates, wage rates, projected hours
                           or Boat Captain’s share of the shrimping vessel revenue, and

                    c.     that offer for employment as a Boat Captain on a commercial
                           shrimping vessel home ported in the Gulf Coast Areas was
                           rescinded or withdrawn as a result of the Deepwater Horizon Oil
                           Spill.




                                              16
                                                                                        029314
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 19 of 96




                      d.      Information regarding the employer, including: (i) employer’s
                              business name, address(es), telephone number(s), website(s) (if
                              available), and a description of the nature of the business.

The Claims Administrator shall have the right to interview the Claimant and potential employer
if the Claims Administrator determines an interview is appropriate.

        B.      Documentation Required

               1.     Vessel Owner/Commercial Fisherman Vessel Lessee

Vessel Owners and Commercial Fisherman Vessel Lessees seeking compensation under the New
Entrant Compensation Method must provide documents sufficient to prove eligibility pursuant to
the applicable paragraphs of the “Generally Applicable Provisions of the Shrimp Compensation
Plan” and the eligibility requirements in Section III.A.1, and to determine compensation pursuant
to Section III.C below, including proof of (i) vessel size and type, (ii) expenditures for purchase
and/or repair of the vessel, or (iii) purchases of shrimping gear.

               2.     Boat Captains

Boat Captains seeking compensation under the New Entrant Compensation Method must provide
documents sufficient to prove eligibility pursuant to the applicable paragraphs of the “Generally
Applicable Provisions of the Shrimp Compensation Plan” and the eligibility requirements in
Section III.A.2, and to determine compensation pursuant to Section III.C below.

        C.      Compensation Amount

               1.     Vessel Owner/Commercial Fisherman Vessel Lessee

If the Claims Administrator determines that the Vessel Owner/Commercial Fisherman Vessel
Lessee has provided necessary proof of eligibility and the required documentation for a vessel,
the Claimant shall receive the Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation set forth in Table 9. The Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation includes an RTP of 8.25.

                                            TABLE 9

               VESSEL SIZE                           VESSEL OWNER/COMMERCIAL
                                                      FISHERMAN VESSEL LESSEE
                                                           COMPENSATION
                  <30 feet                                     $26,016
                 30-44 feet                                    $33,820
               45-74 feet Ice                                  $67,641
             45-74 feet Freezer                               $119,672
                75+ feet Ice                                  $104,063
              > 75 feet Freezer                               $145,688

                                                17
                                                                                             029315
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 20 of 96




              2.     Boat Captains

If the Claims Administrator determines that a Claimant seeking compensation as a Boat Captain
has provided necessary proof of eligibility and the required documentation, the Claimant shall
receive the Boat Captain Compensation set forth in Table 10. The Boat Captain Compensation
includes an RTP of 7.25.

                                          TABLE 10

              VESSEL SIZE                          BOAT CAPTAIN COMPENSATION
                  <30 feet                                   $23,203
                 30-44 feet                                  $26,813
               45-74 feet Ice                                $40,219
             45-74 feet Freezer                              $71,156
                75+ feet Ice                                 $51,563
              75+ feet Freezer                               $72,188

IV.    Historical Revenue Method

        A.     Eligibility Requirements

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee

To be eligible under the Historical Revenue Method, a Vessel Owner/Commercial Fisherman
Vessel Lessee must meet the eligibility requirements of the applicable paragraphs of the
“Generally Applicable Provisions of the Shrimp Compensation Plan” and provide evidence to
demonstrate the Claimant’s commercial shrimping revenue during the selected Benchmark
Period.

              2.     Boat Captains

To be eligible under the Historical Revenue Method, a Boat Captain must meet the eligibility
requirements of the applicable paragraphs of the “Generally Applicable Provisions of the Shrimp
Compensation Plan” and provide evidence to demonstrate the Claimant’s earnings from
commercial shrimping on vessels for which the Claimant served as Boat Captain during the
selected Benchmark Period.

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Historical Revenue Method must provide documents sufficient to prove the eligibility
requirements in Section IV.A and to determine compensation pursuant to Section IV.C below,
including the following:

                                              18
                                                                                         029316
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 21 of 96




               a.    Trip Tickets or their equivalents for each vessel for which
                     Claimant seeks compensation, which show the volume of shrimp
                     harvested and the sales price as shown on the trip tickets or their
                     equivalents for the Benchmark Period for shrimp landed in the
                     Gulf Coast Areas.       The Claimant must provide sufficient
                     documentation for the Claims Administrator to be able to identify
                     gross revenue derived for each vessel solely for shrimp catch
                     landed in the Gulf Coast Areas during the Benchmark Period. The
                     total volume multiplied by price will be the applicable gross
                     revenue.

                     – OR –

               b.    Federal or state tax and financial information as follows:

                     i.       If Claimant is an entity, federal or state tax returns, and
                              sufficient documentation to identify those components of
                              gross revenue derived from commercial shrimp harvesting
                              by vessel for the Benchmark Period for each vessel for
                              which the Claimant submits a Vessel Owner/Commercial
                              Fisherman Vessel Lessee claim.

                     ii.      If Claimant is an individual, federal form 1040 including
                              Schedules C, E and F or state tax forms and supporting
                              documents, as well as sufficient documentation to identify
                              those components of earnings derived from commercial
                              shrimp harvesting by vessel for the Benchmark Period.

                     iii.     In addition, the Claimant must provide sufficient
                              documentation for the Claims Administrator to be able to
                              identify (i) Claimant’s revenue from shrimping as
                              compared to other sources, (ii) Claimant’s revenue from
                              landings in the Gulf Coast Areas. If necessary, the Claims
                              Administrator may require supplemental information from
                              the Claimant in order to make these determinations.

               c.    Also, the Claimant must provide documentation sufficient to
                     establish the vessel size and type for each vessel for which the
                     Claimant seeks compensation.


               d.    In addition, if available, it is requested that the Claimant also
                     provide the following documents, to assist the Claims
                     Administrator:

                     i.       Vessel log book

                     ii.      Share sheets
                                       19
                                                                                   029317
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 22 of 96




                            iii.     Sales or other production reports maintained in the normal
                                     course of business.

              2.     Boat Captains

Boat Captains seeking compensation under the Historical Revenue Method must provide
documents sufficient to prove the eligibility requirements in section IV.A.2 and to determine
compensation pursuant to Section IV.C below, including the following:

                     a.     Trip tickets or their equivalents for each vessel for which Claimant
                            seeks compensation which show the volume of shrimp harvested
                            and the sales price as shown on the trip tickets or their equivalents
                            for the Benchmark Period for shrimp landed in the Gulf Coast
                            Areas. The total volume multiplied by price will be the applicable
                            gross revenue.

                            – OR –

                     b.     Federal tax returns, including Schedules C, E and F, W-2s, and
                            1099s or state tax returns with supporting documents for the
                            Benchmark Period and sufficient documentation to identify those
                            components of earnings derived from commercial shrimp
                            harvesting for the Benchmark Period for the vessel(s) selected by
                            the Claimant. In addition, the Claimant must provide sufficient
                            documentation for the Claims Administrator to be able to identify
                            revenue from shrimp landings in the Gulf Coast Areas for each
                            vessel while the Claimant was Boat Captain. If necessary, the
                            Claims Administrator may require supplemental information from
                            the Claimant in order to make these determinations.

                     c.     Also, the Claimant must provide documentation sufficient to
                            establish the vessel size and type for each vessel for which the
                            Claimant seeks compensation.

                     d.     In addition, if available, it is requested that the Claimant also
                            provide the following documents, to assist the Claims
                            Administrator:

                            i.       Captain’s log book

                            ii.      Vessel log book

                            iii.     Share sheets

                            iv.      Sales or other production reports maintained in the normal
                                     course of business



                                              20
                                                                                           029318
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 23 of 96




    C.     Compensation Calculations

           1.    Calculate Benchmark Shrimp Revenue

                 a.     If trip tickets or their equivalents are used, the volume and price of
                        shrimp on the trip tickets or their equivalents are used to calculate
                        gross revenue from shrimp landed in the Gulf Coast Areas. If the
                        Claimant is a Vessel Owner/Commercial Fisherman Vessel Lessee,
                        the Claimant may provide trip tickets for the Benchmark Period for
                        each vessel for which compensation is being sought. If the
                        Claimant is a Boat Captain, the Claimant may provide trip tickets
                        or their equivalents for all vessels the Claimant served as a Captain
                        during the Benchmark Period.

                        – OR –

                 b.     The Claims Administrator may determine the gross vessel revenue
                        or Boat Captain earnings from shrimp landings in the Gulf Coast
                        Areas based on the Claimant’s tax returns, monthly profit and loss
                        statements, or financial information if the Claims Administrator
                        has sufficient information to determine: (i) Claimant’s revenue
                        from shrimping as compared to other sources, and (ii) Claimant’s
                        revenue from shrimp landings in the Gulf Coast Areas.           If
                        necessary, the Claims Administrator may require supplemental
                        information from the Claimant in order to make these
                        determinations.

           2.    Calculate Additional Catch Adjusted Benchmark Shrimp Revenue by
                 multiplying Benchmark Shrimp Revenue by the Additional Catch Factor.
                 The Additional Catch Factor is presented in Table 11 and is intended to
                 compensate for lost undocumented catch and in-kind payments.

 Additional Catch Adjusted Benchmark Shrimp Revenue = (Benchmark Shrimp Revenue *
                               Additional Catch Factor)

                                       TABLE 11

                   VESSEL SIZE                 ADDITIONAL CATCH
                                                    FACTOR
                       <30 feet                       1.25
                      30-44 feet                      1.20
                    45-74 feet Ice                    1.15
                  45-74 feet Freezer                  1.05
                     75+ feet Ice                     1.05
                   75+ feet Freezer                   1.05


                                          21
                                                                                        029319
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 24 of 96




            3.    Calculate Total Adjusted Benchmark Shrimp Revenue by multiplying the
                  Additional Catch Adjusted Benchmark Shrimp Revenue by 1.2, the
                  Adjustment for Changes in 2010-11 Prices.

Total Adjusted Benchmark Shrimp Revenue = (Additional Catch Adjusted Benchmark Shrimp
                  Revenue * Adjustment for Changes in 2010-11 Prices).

            4.    If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                  calculated using trip tickets or their equivalents, calculate Benchmark
                  Shrimp Cost. Benchmark Shrimp Cost is calculated by multiplying
                  Benchmark Shrimp Revenue by the Shrimp Cost Percentage. The Shrimp
                  Cost Percentage, presented in Table 12, is expressed as a percentage of
                  revenue and reflects standard industry non-labor variable costs. If the
                  Claimant is a Boat Captain and Benchmark Revenue was calculated based
                  upon his earnings, such as from tax return or financial information, then
                  no Shrimp Cost Percentage is applied, skip to step 5.

    Benchmark Shrimp Cost = (Benchmark Shrimp Revenue * Shrimp Cost Percentage)

                                        TABLE 12

                    VESSEL SIZE                     SHRIMP COST
                                                    PERCENTAGE
                        <30 feet                        42%
                       30-44 feet                       39%
                     45-74 feet Ice                     39%
                   45-74 feet Freezer                   42%
                      75+ feet Ice                      54%
                    75+ feet Freezer                    52%

            5.    Calculate the Base Shrimp Loss using the Shrimp Loss Percentage of
                  35%.

                  a.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                         Vessel Lessee or (ii) the Claimant is a Boat Captain and Total
                         Adjusted Benchmark Shrimp Revenue was calculated using trip
                         tickets or their equivalents, the Base Loss is calculated as follows:

      Base Shrimp Loss = (Total Adjusted Benchmark Shrimp Revenue – Benchmark Shrimp
                                      Cost) * 35%




                                           22
                                                                                        029320
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 25 of 96




                  b.     If the Claimant is a Boat Captain and Total Adjusted Benchmark
                         Shrimp Revenue was calculated using a different source than trip
                         tickets or their equivalents, the Base Loss is calculated as follows:

         Base Shrimp Loss = Total Adjusted Benchmark Shrimp Revenue * 35%

           6.     Determine Base Compensation by multiplying Base Shrimp Loss by the
                  appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or Boat
                  Captain share. Vessel Owner and Boat Captain shares differ by boat size
                  and type and are presented in Table 13.

                  a.     Base Compensation for Vessel Owners/Commercial Fisherman
                         Vessel Lessees is calculated as:

             Base Compensation = Base Shrimp Loss * Shrimp Vessel Share

                  b.     Base Compensation for Shrimp Boat Captains is calculated as:

                         i.     If Shrimp Boat Captain Compensation is calculated based
                                on trip tickets then the Base Compensation for Shrimp Boat
                                Captains is calculated as:

         Base Compensation = Base Shrimp Loss * Shrimp Boat Captain Share

                         ii.    If Shrimp Boat Captain Compensation is calculated based
                                on tax returns and financial records, then the Base
                                Compensation for Shrimp Boat Captains is calculated as:

                        Base Compensation = Base Shrimp Loss


                                      TABLE 13

VESSEL TYPE AND SIZE              SHRIMP VESSEL               SHRIMP BOAT CAPTAIN
                               OWNER/COMMERCIAL                      SHARE
                                FISHERMAN VESSEL
                                   LESSEE SHARE
        <30 feet                        45%                                45%
       30-44 feet                       45%                                40%
     45-74 feet Ice                     45%                                30%
   45-74 feet Freezer                   45%                                30%
      75+ feet Ice                      45%                                25%
    75+ feet Freezer                    45%                                25%




                                          23
                                                                                        029321
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 26 of 96




              7.     Apply the RTP to Base Compensation in order to determine Final
                     Compensation. Base Compensation is specific to Claimant type and is
                     found in Table 14.

           Final Compensation = Base Compensation + (Base Compensation * RTP)

                                        TABLE 14

                                      VESSEL                        BOAT CAPTAINS
                                OWNERS/COMMERCIAL
                                 FISHERMAN VESSEL
                                      LESSEES
            RTP                         8.25                                7.25


V.     Vessel Lease Compensation Allocation

To the extent the vessel was leased by the Vessel Owner to the Commercial Fisherman Vessel
Lessee as of April 20, 2010, compensation will be allocated between the parties based upon
Benchmark Revenue, as calculated above and Annual Lease Payment. The Annual Lease
Payment shall be calculated as the annual payment to the Vessel Owner by the Commercial
Fisherman Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the
Vessel Owner Share of Final Compensation. The Commercial Fisherman Vessel Lessee’s Share
of Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

Vessel Owner Share of Final Compensation = Final Compensation * (Annual Lease Payment /
Benchmark Revenue)

Commercial Fisherman Vessel Lessee’s Share of Final Share of Compensation = Final
Compensation - Vessel Owner Share of Final Compensation.




                                             24
                                                                                       029322
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 27 of 96




                             OYSTER COMPENSATION PLAN

The Oyster Compensation Plan provides compensation to Oyster Leaseholders and Oyster
Harvester Claimants. Oyster Harvesters eligible under the Oyster Compensation Plan are (i)
Seafood Vessel Owners, (ii) Oyster Harvester lessees of Seafood Vessels, and (iii) Seafood Boat
Captains. Oyster Leaseholders can submit Leaseholder Property Claims and/or Leaseholder Lost
Income Claims. Oyster Harvesters can submit Harvester Lost Income Claims. A single
Claimant can qualify as both an Oyster Leaseholder and an Oyster Harvester. Compensation
plans for each of these claim types are set forth below.

In some instances, Oyster Leaseholders earn income solely from allowing another natural person
or entity to harvest oysters from their oyster leaseholds. In other instances, Oyster Leaseholders
may be combined such that they both own oyster leaseholds and harvest from those and other
leaseholds. For purposes of the Oyster Compensation Plan, Claimants should submit claims
reflecting both their harvesting and leaseholder claims together. A combined Oyster
Leaseholder/Oyster Harvester is eligible for compensation as both an Oyster Leaseholder and an
Oyster Harvester.

Generally Applicable Provisions of the Oyster Compensation Plan:

1.     Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
       exclusions to the Economic Loss and Property Class Definitions; (ii) who are Oyster
       Leaseholders or Oyster Harvesters; and (iii) who meet the following additional criteria.

2.     An Oyster Leaseholder Claimants shall be an entity or individual with an oyster leasehold
       interest.

3.     Oyster Leaseholder Claimants are eligible to receive compensation for leaseholds that are
       located within Zone A, B or C as reflected on the Oyster Leasehold Compensation Zone
       Map attached hereto, as Exhibit 1. Oyster Harvesters are eligible to receive
       compensation for oysters landed in the Gulf Coast Areas.

4.     It is understood that in some instances, the Vessel Owner is also the Oyster Harvester;
       however, it may be the case that the Vessel Owner leased the vessel to an Oyster
       Harvester Vessel Lessee. In those instances where the vessel was leased during the time
       period of April 20, 2010 to December 31, 2010, the Vessel Owner and Oyster Harvester
       Vessel Lessee must file the vessel claim jointly in order to receive compensation prior to
       the Bar Date, and they shall share any Vessel Owner/Oyster Harvester Vessel Lessee
       compensation provided for in this Oyster Compensation Plan. If at the time of the Bar
       Date either the Vessel Owner or the Oyster Harvester Vessel Lessee has not filed a claim,
       the one that has filed the claim shall receive the full Vessel Owner/Oyster Harvester
       Vessel Lessee compensation for the vessel. The allocation of compensation between
       Vessel Owner and Oyster Harvester Vessel Lessee shall be determined as provided in
       Section 4. If the vessel was not leased to an Oyster Harvester Vessel Lessee during the
       time period of April 20, 2010 to December 31, 2010, the Vessel Owner is entitled to the
       full share of the Vessel Owner/ Oyster Harvester Vessel Lessee compensation.



                                               25
                                                                                            029323
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 28 of 96




5.   It is understood that in some instances, the Vessel Owner or the Oyster Harvester Vessel
     Lessee is also the Boat Captain. In those instances where the Vessel Owner and/or the
     Oyster Harvester Vessel Lessee were also the Boat Captain, the Claimant shall be eligible
     to receive the Boat Captain compensation under the Oyster Compensation Plan as set
     forth below. If the Vessel Owner and/or Oyster Harvester Vessel Lessee employed a
     Boat Captain on the vessel and did not serve as a Boat Captain on that vessel, the hired
     Boat Captain is eligible for the Boat Captain compensation, not the Vessel Owner or
     Oyster Harvester Vessel Lessee.

6.   To establish eligibility to participate in the Oyster Compensation Plan, an Oyster
     Leaseholder Claimant must provide:

     A.     Valid oyster lease entered into by Claimant that establishes, as of April 20, 2010,
            the Claimant as the lessee of the oyster leasehold, or a copy of the actual title for
            the leasehold. Claimants are required to provide documentation that their
            leasehold interest is in good standing, such as proof of renewal.

     B.     Information sufficient to ascertain the geographic boundaries of the oyster
            leasehold, including the oyster lease ID number.

7.   To establish eligibility to participate in the Oyster Compensation Plan, a Vessel Owner
     Claimant must provide for each vessel for which the Claimant is seeking compensation:

     A.     Proof of ownership of the vessel during the time period of April 20, 2010 to
            December 31, 2010.

     B.     Proof that as of April 20, 2010 there was a government license (even if it had
            expired as of that date) that authorized that vessel to harvest and land oysters in
            the Gulf Coast Areas for the 2009 season or the 2010 season.

     C.     The vessel name and any applicable federal and/or state vessel registration
            identification numbers.

     D.     Proof that the vessel landed oysters in the Gulf Coast Areas in 2009 or 2010. For
            example, this can be demonstrated using trip tickets (or equivalent documents
            such as dealer forms) or Federal or state tax returns.

     E.     A sworn statement attesting as to whether or not the vessel was leased during the
            time period April 20, 2010 to December 31, 2010. If the vessel was leased during
            this time period, the Vessel Owner must provide a copy of the lease agreement.

8.   To establish eligibility to participate in the Oyster Compensation Plan, an Oyster
     Harvester who leases a Seafood Vessel (Oyster Harvester Vessel Lessee) must provide
     for each vessel for which the Claimant is seeking compensation:

     A.     Proof that during the time period of April 20, 2010 to December 31, 2010 the
            Claimant leased a vessel to be used for oyster harvesting.


                                             26
                                                                                           029324
    Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 29 of 96




          B.      Proof that as of April 20, 2010 there was a government license (even if it had
                  expired as of that date) that authorized the vessel to harvest and land oysters in the
                  Gulf Coast Areas for the 2009 season or the 2010 season.

          C.      Proof that the vessel landed oysters in the Gulf Coast Areas in 2009 or 2010. For
                  example, this can be demonstrated using trip tickets (or equivalent documents
                  such as dealer forms) or Federal or State tax returns.

          D.      A sworn statement attesting that the Claimant leased the vessel from the Vessel
                  Owner during the time period of April 20, 2010 to December 31, 2010. The
                  Oyster Harvester Vessel Lessee must also provide a copy of the lease agreement.

9.        Oyster Boat Captain Claimants must provide:

          A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                  (even if it had expired before that date) authorizing the Claimant to operate as a
                  Boat Captain and/or to commercially harvest and land oysters in the Gulf Coast
                  Areas.

          B.      Proof that Claimant landed oysters in the Gulf Coast Areas in 2009 or 2010. This
                  can be demonstrated using trip tickets (or equivalent documents such as dealer
                  forms) or federal or state tax returns.

10.       A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
          Related Payments. If the Claimant received Seafood Spill-Related Payments, the
          Claimant shall provide documents7 sufficient to establish the timing, amount and source
          of Seafood Spill-Related Payments, including documents providing the claimant’s
          BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
          payments:

Oyster Compensation Plan Methods Available:

There are two types of claims available to Oyster Leaseholders:

      •   Leaseholder Interest Compensation

      •   Leaseholder Lost Income Compensation

There is one type of claim available to Oyster Harvesters:

      •   Historical Revenue Compensation




7
      When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
      copies or originals of the documents.


                                                     27
                                                                                                    029325
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 30 of 96




A given Claimant may submit claims for more than one form of compensation, for example a
combined Oyster Leaseholder/Oyster Harvester may submit claims for all three forms of
compensation.

Oyster Compensation Plan Definition:

The Benchmark Period for the Claimant is the combination of 2007, 2008 and 2009. All
calculations of Benchmark Period revenues, costs or payments use the average of annual figures
across 2007, 2008 and 2009. In the event that a Claimant entered the oyster industry after 2007,
then the Benchmark Period will include all full years since the Claimant entered the oyster
harvesting industry, so 2008-2009 or 2009. In the event the Claims Administrator determines
that the Claimant (individual or vessel) did not participate at the same level of effort in oyster
harvesting due to circumstances beyond the Claimant’s control (such as illness, disability or
major mechanical failure), the Claims Administrator may at his discretion allow the Claimant to
exclude one or more years of the Benchmark Period.

                        1. Oyster Leaseholder Interest Compensation

Oyster Leaseholder Interest Compensation provides all eligible Oyster Leaseholders with
compensation on a per acre basis for their leaseholds. Compensation shall be determined by the
geographic location of the oyster leasehold as set forth below.

1.1    Eligibility for Oyster Leaseholder Property Claim

Eligible leaseholds are those located within Zone A, B or C as reflected on the Oyster Leasehold
Compensation Zone Map.

1.2    Documentation Requirement for Oyster Leaseholder Interest Compensation

The Oyster Leaseholder must provide the documentation required under the Generally
Applicable Provisions of the Oyster Compensation Plan.

1.3    Calculation of Oyster Leaseholder Interest Compensation

The Oyster Leaseholder Claimant shall receive compensation on a per acre basis based upon
where the lease is located on the Oyster Leaseholder Compensation Zone Map. The per acre
compensation amounts for each zone are as follows:

       Zone A:        $2,000

       Zone B:        $1,000

       Zone C:        $400

If a lease crosses two zones, compensation will be determined based on the number of acres of
the lease in each zone. For example, if a lease covers 20 acres in Zone A and 30 acres in
Zone B, then compensation will be calculated as: (20 acres * $2,000) + (30 acres * $1,000) =
$70,000.

                                               28
                                                                                            029326
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 31 of 96




The per acre payment is not subject to any RTP.

                     2. Oyster Leaseholder Lost Income Compensation

The Oyster Leaseholder Lost Income Compensation provides eligible Oyster Leaseholders with
compensation for income earned through payments from another natural person or entity that
harvests oysters on their leases. This Section 2 describes compensation for an Oyster
Leaseholder that is not also an Oyster Vessel Owner/Oyster Harvester Vessel Lessee. If the
Oyster Leaseholder is also a Vessel Owner/Oyster Harvester Vessel Lessee, the Oyster
Leaseholder shall receive compensation for a combined Oyster Leaseholder and Vessel
Owner/Oyster Harvester Vessel Lessee, as described in Section 3.5.

2.1    Eligibility Requirements for Oyster Leaseholder Lost Income Claims

Oyster Leaseholder Claimants who meet the eligibility requirements set forth in the applicable
paragraphs of the “Generally Applicable Provisions of the Oyster Compensation Plan” and
Section 1.1 above are eligible to receive Oyster Leaseholder Lost Income Claims Compensation.

2.2    Documentation Requirements for Oyster Leaseholder Lost Income Claims

To receive Oyster Leaseholder Lost Income Compensation, a Claimant must provide:

       A.      Tax returns, financial statements or business documents establishing revenue
               earned by the Claimant during the Benchmark Period from another natural person
               or entity that harvests oysters on their leaseholds located in Zones A, B or C, as
               reflected on the Oyster Leasehold Compensation Zone Map.

       B.      Contracts or agreements between the Oyster Leaseholder and another natural
               person or entity that harvests oysters from their leaseholds located in Zones A, B
               or C, as reflected on the Oyster Leasehold Compensation Zone Map.

In addition, if available, it is requested that the Claimant also provide the following documents,
to assist the Claims Administrator:

       A.      A list of all Oyster Harvesters who harvested oysters on Claimant’s leasehold(s)
               during 2007 through 2009.

2.3    Calculation of Oyster Leaseholder Lost Income Compensation

For all Oyster Leaseholder Claimants, the Oyster Leaseholder Lost Income Compensation is
calculated as follows:

       A.      Calculate Benchmark Revenue as the average annual revenue earned by the
               Claimant during the Benchmark Period from other natural people or entities that
               harvest oysters on the Claimant’s leaseholds that are located in Zones A, B or C,
               as reflected on the Oyster Leasehold Compensation Zone Map.




                                               29
                                                                                            029327
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 32 of 96




       B.      Calculate Total Adjusted Benchmark Revenue by multiplying Benchmark
               Revenue by 1.1, the Adjustment For Changes in 2010-11 Prices.

                Total Adjusted Benchmark Revenue = Benchmark Revenue * 1.1

       C.      Calculate Base Compensation as Total Adjusted Benchmark Revenue multiplied
               by the Oyster Loss Percentage of 40%.

                   Base Compensation = Total Adjusted Benchmark Revenue * 40%

       D.      Apply an RTP of 8.75 to Base Compensation in order to determine Final
               Compensation.

            Final Compensation = Base Compensation + (Base Compensation * 8.75)

                                          TABLE 1

               Example of Compensation Calculation for Hypothetical Oyster
                           Leaseholder Lost Income Claimant

            Inputs
            Benchmark Revenue                          [A]                     $20,000
            Adjustment for Changes in 2010-2011
            Prices                                     [B]                        1.10
            Oyster Loss Percentage                     [C]                        40%
            RTP                                        [D]                        8.75

            Calculation
            Total Adjusted Benchmark Revenue           [E] = [A] * [B]         $22,000
            Base Compensation                          [F] = [E] * [C]          $8,800
            Final Compensation                         [G] = [F] + [F] * [D]   $85,800

                      3. Oyster Harvester Lost Income Compensation

An Oyster Harvester Claimant may seek compensation for the Claimant’s economic loss from
oyster harvesting by establishing historical revenue generated by Oyster Harvesting. Section 3.3
describes calculation of compensation for an oyster Boat Captain, Section 3.4 describes
calculation of compensation for a Vessel Owner/Oyster Harvester Vessel Lessee that is not also
an Oyster Leaseholder. If a Vessel Owner/Oyster Harvester Vessel Lessee is also an Oyster
Leaseholder, Section 3.5 describes the calculation of both Oyster Leaseholder Lost Income and
Oyster Harvester Lost Income for that Claimant.




                                              30
                                                                                          029328
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 33 of 96




3.1    Eligibility and Documentation – Boat Captain

To be eligible to receive compensation for lost oyster harvesting earnings, a Boat Captain
Claimant (i) must meet the applicable paragraphs of the Generally Applicable Provisions of the
Oyster Compensation Plan and (ii) provide evidence to document the oyster harvesting revenue
earned by vessels on which the Claimant served as Boat Captain, or the earnings the Claimant
earned as Boat Captain of oyster harvesting vessels, during the Benchmark Period. This revenue
must be established using:

       A.      Trip tickets (or equivalent documents such as dealer forms) for each vessel for
               which Claimant seeks compensation which show the volume of oysters harvested
               and the sales price for the Benchmark Period for oysters landed in the Gulf Coast
               Areas. The total volume multiplied by the price will be the applicable gross
               revenue.

               -OR-

       B.      Federal or state tax returns, including Schedules C, E and F, W-2s, and 1099s for
               the Benchmark Period and sufficient documentation to identify those components
               of earnings derived from oyster harvesting for the Benchmark Period for the
               vessel(s) selected by the Claimant. In addition, the Claimant must provide
               sufficient documentation for the Claims Administrator to be able to identify
               revenue from oyster landings in the Gulf Coast Areas for each vessel while the
               Claimant was Boat Captain. If necessary, the Claims Administrator may require
               supplemental information from the Claimant in order to make these
               determinations.

In addition, if available, it is requested that the Claimant also provide the following documents to
assist the Claims Administrator:

       A.      Captain’s Log Book

       B.      Share Sheets

       C.      Vessel name and any applicable federal and/or state vessel registration
               identification numbers for any vessels the Claimant captained during the
               Benchmark Period

3.2    Eligibility and Documentation: Seafood Vessel Owner – Oyster Harvester Vessel
Lessee

To be eligible to receive compensation for lost harvesting income, a Vessel Owner/Oyster
Harvester Vessel Lessee must meet the eligibility requirements set forth in the applicable
paragraphs of the “Generally Applicable Provisions of the Oyster Compensation Plan” and
provide evidence to document harvesting revenue and certain costs associated with oyster
harvesting during their Benchmark Period for landings in the Gulf Coast Areas. Oyster



                                                31
                                                                                              029329
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 34 of 96




harvesting gross revenue earned by Claimants during their Benchmark Period must be
established using:

        A.     Trip tickets (or equivalent documents such as dealer forms) for each vessel for
               which Claimant seeks compensation which show the volume of oysters harvested
               and the sales price for the Benchmark Period for oysters landed in the Gulf Coast
               Areas. The total volume multiplied by the price will be the applicable gross
               revenue.

               -OR-

        B.     Federal or state tax forms and financial information as follows:

               1.      If a Claimant is an entity, federal or state tax returns, and sufficient
                       documentation to identify those components of gross revenue derived
                       from oyster harvesting by vessel for the Benchmark Period for landings in
                       the Gulf Coast Areas for each vessel for which the Claimant submits a
                       Vessel Owner/Oyster Harvester Vessel Lessee claim.

               2.      If the Claimant is an individual, federal form 1040 including Schedules C,
                       E and F or state tax forms with supporting documents as well as sufficient
                       documentation to identify components of earnings derived from oysters
                       landed in the Gulf Coast Areas by vessel for the Benchmark Period.

               3.      In addition, the Claimant must provide sufficient documentation for the
                       Claims Administrator to be able to identify Claimant’s revenue from
                       oyster harvesting in the Gulf Coast Areas as compared to other sources of
                       revenue.     If necessary, the Claims Administrator may require
                       supplemental information from the Claimant in order to make these
                       determinations.

In addition, if available, it is requested that the Claimant also provide, for each vessel for which
the Claimant is seeking compensation, the following documents to assist the Claims
Administrator:

               1.      Vessel Log Book

               2.      Share Sheets

               3.      Names and periods of employment of Boat Captains employed on the
                       vessel during 2007, 2008 and 2009

3.3.1   Calculation of Harvester Lost Income Compensation for Boat Captains for Captains
        Using Trip Tickets to Document Claims

        A.     Calculate average annual revenue in Benchmark Period for (i) oysters harvested
               from public grounds (Public Benchmark Harvest Revenue) and (ii) oysters
               harvested from private leaseholds (Private Benchmark Harvest Revenue). Public

                                                32
                                                                                              029330
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 35 of 96




            Benchmark Harvest Revenue and Private Benchmark Harvest Revenue shall be
            separately calculated as described above in 3.1. If the Claimant does not have
            information sufficient to establish the split between revenue from oysters
            harvested on public grounds and oysters harvested on private leaseholds, all
            oyster harvesting revenue shall be assumed to have come from private leaseholds.

     B.     Calculate Total Adjusted Benchmark Revenue by multiplying the sum of Public
            Benchmark Harvest Revenue and Private Benchmark Harvest Revenue by 1.1, the
            Adjustment For Changes in 2010-11 Prices.

   Total Adjusted Benchmark Revenue = (Public Benchmark Harvest Revenue + Private
                         Benchmark Harvest Revenue) * 1.1

     C.     Determine Variable Harvest Cost by multiplying the sum of Public Benchmark
            Revenue and Private Benchmark Revenue by 12%. If the Claimant establishes
            Benchmark Revenue through individual income tax forms, Variable Harvest Cost
            shall be zero ($0).

Variable Harvest Cost = (Public Benchmark Revenue + Private Benchmark Revenue) * 12%

     D.     Calculate Leaseholder Payment Cost by multiplying Private Benchmark Revenue
            by Leaseholder Payment Percentage of 33%. If the Claimant establishes
            Benchmark Revenue through individual income tax forms, Variable Harvest Cost
            shall be zero ($0).

             Leaseholder Payment Cost = Private Benchmark Revenue * 33%

     E.     Calculate Base Harvest Margin as Total Adjusted Benchmark Oyster Revenue
            less Variable Harvest Cost and Leaseholder Payment Cost.

Base Harvest Margin = Total Adjusted Benchmark Oyster Revenue – Variable Harvest Cost –
                               Leaseholder Payment Cost

     F.     Determine Base Harvest Loss by multiplying Base Harvest Margin by Oyster
            Loss Percentage of 40%.

                     Base Harvest Loss = Base Harvest Margin * 40%

     G.     Multiply Base Harvest Loss by Boat Captain Share of 40% to determine Base
            Compensation.

                     Base Compensation = Base Harvest Loss * 40%

     H.     Apply an RTP of 7.75 to Base Compensation in order to determine Final
            Compensation.

          Final Compensation = Base Compensation + (Base Compensation * 7.75)


                                           33
                                                                                      029331
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 36 of 96




                                         TABLE 2

   Example of Compensation Calculation for Hypothetical Boat Captain Harvester Lost
                      Income Claimant Who Uses Trip Tickets

   Inputs
   Public Benchmark Harvest Revenue                    [A]                        $50,000
   Private Benchmark Harvest Revenue                   [B]                       $100,000
   Adjustment for Changes in 2010-2011 Prices          [C]                           1.10
   Variable Harvest Cost Percentage                    [D]                           12%
   Leaseholder Payment Percentage                      [E]                           33%
   Oyster Loss Percentage                              [F]                           40%
   Boat Captain Share                                  [G]                           40%
   RTP                                                 [H]                           7.75

   Calculation
   Total Adjusted Benchmark Revenue                    [I] = ([A] + [B]) * [C]   $165,000
   Variable Harvest Cost                               [J] = ([A] + [B]) * [D]    $18,000
   Leaseholder Payment Cost                            [K] = [B] * [E]            $33,000
   Base Harvest Margin                                 [L] = [I] - [J] - [K]     $114,000
   Base Harvest Loss                                   [M] = [L] * [F]            $45,600
   Base Compensation                                   [N] = [M] * [G]            $18,240
   Final Compensation                                  [O] = [N] + [N] * [G]     $159,600


3.3.2   Calculation of Harvester Lost Income Compensation for Boat Captains for Captains
        Using Tax Returns and/or Financial Records to Document Claims.

        A.     Calculate Average Earnings in Benchmark Period for oysters landed in the Gulf
               Coast Areas.

        B.     Calculate Total Adjusted Earnings in Benchmark Period by multiplying Average
               Earnings in Benchmark Period by 1.1, the Adjustment For changes in 2010-11
               Prices.

        C.     Determine Base Earnings Loss by multiplying total Adjusted Earnings in
               Benchmark Period by Oyster Loss Percentage of 40%.

        Base Earnings Loss = Total Adjusted Earnings in Benchmark Period * 40%

        D.     Apply at RTP of 7.75 to Base Earnings Loss to determine Final Compensation

        Final Compensation = Base Earnings Loss + (Base Earnings Loss * 7.75)


                                             34
                                                                                       029332
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 37 of 96




3.4  Calculation of Harvester Lost Income Compensation for Oyster Vessel
Owners/Oyster Harvester Vessel Lessees that Are Not Oyster Leaseholders

This Section 3.4 describes compensation for an Oyster Vessel Owner/Oyster Harvester Vessel
Lessee that is not also an Oyster Leaseholder.

       A.     Calculate average annual revenue in Benchmark Period for (i) oysters harvested
              from public grounds (Public Benchmark Harvest Revenue) and (ii) oysters
              harvested from private leaseholds (Private Benchmark Harvest Revenue). Public
              Benchmark Harvest Revenue and Private Benchmark Harvest Revenue shall be
              separately calculated as described above in 3.2. If the Claimant does not have
              information sufficient to establish the split between revenue from public grounds
              and private leaseholds, all oyster harvesting revenue shall be assumed to have
              come from private leaseholds.

       B.     Calculate Total Adjusted Benchmark Revenue by multiplying the sum of Public
              Benchmark Harvest Revenue and Private Benchmark Harvest Revenue by 1.1, the
              Adjustment For Changes in 2010-11 Prices.


     Total Adjusted Benchmark Revenue = (Public Benchmark Harvest Revenue + Private
                           Benchmark Harvest Revenue) * 1.1

       C.     Determine Variable Harvest Cost by multiplying the sum of Public Benchmark
              Revenue and Private Benchmark Revenue by 12%.

  Variable Harvest Cost = (Public Benchmark Revenue + Private Benchmark Revenue) * 12%

       D.     Determine Leaseholder Payment Cost by multiplying Private Benchmark
              Revenue by Leaseholder Payment Percentage of 33%.

               Leaseholder Payment Cost = Private Benchmark Revenue * 33%

       E.     Calculate Base Margin as Total Adjusted Benchmark Revenue less Variable
              Harvest Cost and Leaseholder Payment Cost.

     Base Harvest Margin = Total Adjusted Benchmark Revenue – Variable Harvest Cost –
                                 Leaseholder Payment Cost

       F.     Determine Base Harvest Loss by multiplying Base Harvest Margin by Oyster
              Loss Percentage of 40%.

                      Base Harvest Loss = Base Harvest Margin * 40%

       G.     Multiply Base Harvest Loss by Vessel Owner Share of 40% to determine Base
              Compensation.

                       Base Compensation = Base Harvest Loss * 40%

                                             35
                                                                                         029333
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 38 of 96




       H.     Apply an RTP of 8.75 to Base Compensation in order to determine Final
              Compensation.

            Final Compensation = Base Compensation + (Base Compensation * 8.75)

                                      TABLE 3
       Example of Compensation Calculation for Hypothetical Vessel Owner / Oyster
                               Harvester Vessel Lessee
                          Harvester Lost Income Claimant

      Inputs
      Public Benchmark Harvest Revenue             [A]                          $50,000
      Private Benchmark Harvest Revenue            [B]                         $100,000
      Adjustment for Changes in 2010-2011 Prices   [C]                             1.10
      Variable Harvest Cost Percentage             [D]                             12%
      Leaseholder Payment Percentage               [E]                             33%
      Oyster Loss Percentage                       [F]                             40%
      Vessel Owner Share                           [G]                             40%
      RTP                                          [H]                             8.75

      Calculation
      Total Adjusted Benchmark Revenue             [I] = ([A] + [B]) *[C]      $165,000
      Variable Harvest Cost                        [J] = ([A] + [B]) * [D]      $18,000
      Leaseholder Payment Cost                     [K] = [B] * [E]              $33,000
      Base Harvest Margin                          [L] = [I] - [J] - [K]       $114,000
      Base Harvest Loss                            [M] = [L] * [F]              $45,600
      Base Compensation                            [N] = [M] * [G]              $18,240
      Final Compensation                           [O] = [N] + [N] * [H]       $177,840


3.5    Calculation of Harvester Lost Income Compensation for Oyster Vessel
       Owners/Oyster Harvester Vessel Lessees that are also Oyster Leaseholders

This section explains compensation for the Oyster Harvester that is also an Oyster Leaseholder
and includes compensation for a Claimant’s role as an Oyster Leaseholder and a Vessel
Owner/Oyster Harvester Vessel Lessee. If the Claimant is also a Boat Captain, the Claimant can
receive compensation based on the Boat Captain Compensation framework described in Section
3.3 above.

Compensation for an Oyster Leaseholder/Vessel Owner/Oyster Harvester Vessel Lessee’s role as
an Oyster Leaseholder and Vessel Owner/Oyster Harvester Vessel Lessee depends on Claimant’s
Total Benchmark Revenue less Total Benchmark Costs.

                                             36
                                                                                          029334
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 39 of 96




Total Benchmark Revenue includes four types of revenues received by Claimant:

     •   Oyster Leaseholder Revenue, which reflects revenue received from another natural
         person or entity that harvests oysters on the Claimant’s leaseholds;
     •   Own Lease Harvest Revenue, which reflects revenue received from oysters harvested by
         Claimant on the Claimant’s leaseholds;
     •   Harvest Revenue from other private leaseholds, which reflects revenue received from
         oysters harvested from private leaseholds owned by others; and
     •   Public Harvest Revenue, which reflects revenue received from harvests from public
         oyster grounds.

Total Benchmark Cost includes three types of costs incurred by Claimant:

     •   Variable Harvest Cost
     •   Payments to Other Leaseholders as compensation for oysters harvested from their leases
     •   Payments to Boat Captains and Seafood Crew

The following steps describe calculation of compensation for Oyster Vessel Owners/Oyster
Harvester Vessel Lessees that are also Oyster Leaseholders. The calculation is summarized in
Table 4 below. Exhibit 2 presents a table summarizing the approach in additional detail and
includes a further example summarizing compensation for Lost Leaseholder Income and Lost
Harvester income when the claimant also acts as the sole Boat Captain.

Calculate Revenue:

1.       Calculate Oyster Leaseholder Benchmark Revenue which reflects revenue received from
         other harvesters as payment for oysters harvested from the claimant’s lease. Calculate
         Adjusted Oyster Leaseholder Benchmark Revenue as 1.1*Oyster Leaseholder
         Benchmark Revenue

2.       Calculate harvest revenues:

         A.     Calculate Private Benchmark Harvest Revenue, which reflects revenue generated
                from oysters harvested on private leaseholds, including leaseholds owned by the
                Claimant and leaseholds owned by others. Calculate Adjusted Private Benchmark
                Harvest Revenue as 1.1*Private Benchmark Harvest Revenue

         B.     Calculate Public Benchmark Harvest Revenue, which reflects revenue generated
                from oysters harvested on public grounds and Adjusted Public Benchmark
                Harvest Revenue as 1.1*Public Benchmark Harvest Revenue

         C.     Calculate Adjusted Total Harvest Benchmark Revenue as the sum of Adjusted
                Private Benchmark Harvest Revenue and Adjusted Public Benchmark Harvest
                Revenue.



                                               37
                                                                                           029335
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 40 of 96




3.    Calculate Adjusted Total Benchmark Revenue as the sum of Adjusted Total Benchmark
      Harvest Revenue and Adjusted Oyster Benchmark Leaseholder Income.

Calculate Costs:

1.    Calculate Variable Harvest Cost as 12% multiplied by the sum of (i) Public Benchmark
      Harvest Revenue and (ii) Private Benchmark Harvest Revenue.

2.    Calculate Estimated Total Leaseholder Costs as Adjusted Benchmark Private Harvest
      Revenue *33%

3.    Calculate or estimate Claimant’s Lease Payments to Other Leaseholders based on tax
      returns, financial statements and business records provided by Claimant.

4.    Calculate Payments to Boat Captains and Seafood Crew

      A.     Calculate Claimant’s Adjusted Total Benchmark Harvest Revenue, minus
             Variable Harvest Cost, minus Estimated Total Leaseholder Costs

      B.     Multiply by 60% to determine Payments to Boat Captains and Seafood Crew

5.    Calculate Total Cost as Variable Harvest Cost plus Claimants’ Lease Payments to Other
      Leaseholders plus Payments to Boat Captains and Seafood Crew

Calculate Final Compensation:

1.    Calculate Total Margin as Adjusted Total Benchmark Revenue minus Total Cost

2.    Calculate Base Compensation as Total Margin multiplied by Oyster Loss Percentage of
      40%.

3.    Apply an RTP of 8.75 to Base Compensation in order to determine Final Compensation.

           Final Compensation = Base Compensation + (Base Compensation * 8.75)




                                           38
                                                                                     029336
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 41 of 96




                                    TABLE 4

Example of Compensation Calculation for Hypothetical Oyster Leaseholder / Oyster
                               Harvester Claimant
         Calculation Determines Compensation for Lost Leaseholder Income
                            and Lost Harvester Income


Oyster Leaseholder Benchmark Revenue              [A]                     $10,000

Adjusted Oyster Leaseholder Benchmark             [B]=[A]*1.1             $11,000
Revenue

Private Benchmark Harvest Revenue                 [C]                     $75,000

Adjusted Private Benchmark Harvest Revenue        [D]=[C]*1.1             $82,500

Public Benchmark Harvest Revenue                  [E]                     $25,000

Adjusted Public Benchmark Harvest Revenue         [F]=[E]*1.1             $27,500

Adjusted Total Benchmark Harvest Revenue          [G]=[D]+[F]             $110,000

Adjusted Total Benchmark Revenue                  [H]=[B]+[G]             $121,000

Variable Harvest Cost                             [I]=([C]+[E])*12%       $12,000

Estimated Total Leaseholder Cost                  [J]=[D]*33%             $27,225

Claimants Lease Payments to Other Leaseholders [K]=[based on claimant     $10,000
                                               records]

Payments to Boat Captains and Seafood Crew        [L]=([G]-[I]-[J])*60%   $42,465

Total Cost                                        [M]=[I]+[K]+[L]         $64,465

Total Margin                                      [N]=[H]-[M]             $56,535

Base Compensation                                 [O]=[N]*40%             $22,614

Final Compensation                                [P]=[O]+[O]*8.75        $220,487




                                             39
                                                                                     029337
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 42 of 96




                         4. Vessel Lease Compensation Allocation

To the extent the vessel was leased by the Vessel Owner to the Oyster Harvester Vessel Lessee
as of April 20, 2010, compensation will be allocated between the parties based upon Benchmark
Revenue, as calculated above at Section 3.4 or 3.5, and Annual Lease Payment. The Annual
Lease Payment shall be calculated as the annual payment to the Vessel Owner by the Oyster
Harvester Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the
Vessel Owner Share of Final Compensation. The Oyster Harvester Vessel Lessee’s Share of
Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

                      Vessel Owner Share of Final Compensation =
            Final Compensation * (Annual Lease Payment / Benchmark Revenue)

          Oyster Harvester Vessel Lessee’s Share of Final Share of Compensation =
             Final Compensation - Vessel Owner Share of Final Compensation.


                                          TABLE 5

               Example of Vessel Lease Compensation Allocation Between
          Vessel Owner Claimant and Oyster Harvester Vessel Lessee Claimant

  Inputs (Based on Table 3)
  Benchmark Revenue                                       [A]                    $165,000
  Annual Lease Payment                                    [B]                     $55,000
  Final Compensation                                      [C]                    $177,840


  Calculation
  Annual Lease Payment / Benchmark Revenue                [D] = [B] / [A]              33%

  Vessel Owner's Share of Final Compensation              [E] = [C] * [D]           $59,280
  Oyster Harvester Vessel Lessee's Share of Final         [F] = [C] - [E]        $118,560
  Compensation




                                              40
                                                                                        029338
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 43 of 96




                                                                     029339
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 44 of 96




                                                                     029340
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 45 of 96




                                                                     029341
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 46 of 96




                                                                     029342
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 47 of 96




                                                                     029343
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 48 of 96




                                                                     029344
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 49 of 96




                                                                     029345
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 50 of 96




                                                                     029346
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 51 of 96




                                                                     029347
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 52 of 96




                            FINFISH COMPENSATION PLAN

Generally Applicable Provisions of the Finfish Compensation Plan:

1.    Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
      exclusions to the Economic Loss and Property Class Definition, (ii) who are Vessel
      Owners, Commercial Fishermen who lease Seafood Vessels (Commercial Fisherman
      Vessel Lessee), and/or Seafood Boat Captains that derive income from commercial
      finfishing, and (iii) who meet the additional criteria listed in this Finfish Compensation
      Plan.

2.    It is understood that in some instances, the Vessel Owner is also the Commercial
      Fisherman; however, it may be the case that the Vessel Owner leased the vessel to a
      Commercial Fisherman. In those instances where the vessel was leased during the time
      period of April 20, 2010 to December 31, 2010, the Vessel Owner and Commercial
      Fisherman Vessel Lessee must file the vessel claim jointly in order to receive
      compensation prior to the Bar Date, and they shall share any Vessel Owner/Commercial
      Fisherman Vessel Lessee compensation provided for in this Finfish Compensation Plan.
      If at the time of the Bar Date either the Vessel Owner or the Commercial Fisherman
      Vessel Lessee has not filed a claim, the one that has filed the claim shall receive the full
      Vessel Owner/Commercial Fisherman Vessel Lessee compensation for the vessel. The
      allocation of compensation between Vessel Owner and Commercial Fisherman Vessel
      Lessee shall be determined as provided in Section III. If the vessel was not leased to a
      Commercial Fisherman Vessel Lessee during the time period of April 20, 2010 to
      December 31, 2010, the Vessel Owner is entitled to the full Vessel Owner/Commercial
      Fisherman Vessel Lessee compensation for the vessel.

3.    It is understood that in some instances, the Vessel Owner and/or the Commercial
      Fisherman Vessel Lessee is also the Boat Captain. In those instances where the Vessel
      Owner and/or the Commercial Fisherman Vessel Lessee were also the Boat Captain, they
      shall be eligible to receive the Boat Captain compensation portion for the vessel under the
      Finfish Compensation Plan as set forth below. If the Vessel Owner and/or Commercial
      Fisherman Vessel Lessee employed a Boat Captain on the vessel and did not serve as a
      Boat Captain on that vessel, the hired Boat Captain is eligible for the Boat Captain
      compensation, not the Vessel Owner or Commercial Fisherman Vessel Lessee.

4.    To establish eligibility to participate in the Finfish Compensation Plan, a Vessel Owner
      Claimant must provide for each vessel(s) for which the Claimant is seeking
      compensation:

      A.     Proof of ownership of the vessel during the time period of April 20, 2010 to
             December 31, 2010.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for
             finfish in the Specified Gulf Waters for the 2009 season or the 2010 season.



                                              41
                                                                                            029348
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 53 of 96




     C.     The vessel name and any applicable federal and/or state vessel registration
            identification numbers.

     D.     Proof that either:

            1.     the vessel was home ported in the Gulf Coast Areas at any time from
                   April 20, 2010 to April 16, 2012; or,

            2.     the vessel landed finfish in the Gulf Coast Areas at any time from
                   April 20, 2009 to April 16, 2012.

     E.     A sworn statement attesting as to whether or not the vessel was leased during the
            time period April 20, 2010 to December 31, 2010. If the vessel was leased during
            this time period, the Vessel Owner must provide a copy of the lease agreement.

     F.     A sworn statement attesting as to whether or not the Vessel Owner was the Boat
            Captain for that vessel during January 1, 2007 through December 31, 2009. If the
            Vessel Owner was not the sole Boat Captain for that vessel for some portion of
            January 1, 2007 through December 31, 2009, to the extent possible, the Claimant
            shall identify all other Boat Captains employed on the vessel and the time periods
            for which the Boat Captains were employed.

5.   To establish eligibility to participate in the Finfish Compensation Plan, a Commercial
     Fisherman Vessel Lessee must provide for each vessel for which he or she seeks
     compensation:

     A.     Proof that during the period of April 20, 2010 through December 31, 2010 he or
            she leased the vessel to be used for commercial finfishing.

     B.     Proof that as of April 20, 2010 there was a government license (even if it had
            expired before that date) that authorized that vessel to commercially fish for
            finfish in the Specified Gulf Waters for the 2009 season or the 2010 season.

     C.     The vessel name and any applicable federal and/or state vessel registration
            identification numbers.

     D.     Proof that either:

            1.     the vessel was home ported in the Gulf Coast Areas at any time from
                   April 20, 2010 to April 16, 2012; or,

            2.     the vessel landed finfish in the Gulf Coast Areas at any time from
                   April 20, 2009 to April 16, 2012.

     E.     A sworn statement, attesting that the Commercial Fisherman Vessel Lessee leased
            the vessel during the time period of April 20, 2010 to December 31, 2010. The
            Commercial Fisherman Vessel Lessee must also provide a copy of the lease
            agreement for the vessel.

                                            42
                                                                                        029349
    Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 54 of 96




         F.      A sworn statement attesting as to whether or not the Commercial Fisherman
                 Vessel Lessee was the Boat Captain for that vessel during January 1, 2007
                 through December 31, 2009. If the Commercial Fisherman Vessel Lessee was not
                 the sole Boat Captain for that vessel for some portion of January 1, 2007 through
                 December 31, 2009, to the extent possible, the Claimant shall identify all other
                 Boat Captains employed on the vessel and the time periods for which the Boat
                 Captains were employed.

6.       To establish eligibility to participate in the Finfish Compensation Plan a Boat Captain
         must provide:

         A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                 (even if it had expired before that date) authorizing the Claimant to operate as a
                 Boat Captain and/or to commercially fish for finfish in the Specified Gulf Waters
                 for the 2009 season or the 2010 season.

         B.      Proof that either the Boat Captain worked:

                 1.       on one or more commercial finfishing vessels that were home ported in the
                          Gulf Coast Areas from April 20, 2010 through the date of execution of the
                          Settlement Agreement; or,

                 2.       one or more commercial finfishing vessels that landed finfish in the Gulf
                          Coast Areas from April 20, 2009 through the date of execution of the
                          Settlement Agreement.

7.       A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
         Related Payments. If the Claimant received Seafood Spill-Related Payments, the
         Claimant shall provide documents8 sufficient to establish the timing, amount and source
         of Seafood Spill-Related Payments, including documents providing the claimant’s
         BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
         payments.

Finfish Compensation Plan Definition:

Benchmark Period9 is selected by the Claimant and can be (i) 2009, (ii) 2008 and 2009, or
(iii) 2007, 2008 and 2009. If the Claimant elects to use years 2008 and 2009 or 2007, 2008, and
2009, the annual revenue amounts shall be averaged. In the event the Claims Administrator
determines that the Claimant (individual or vessel) did not participate at the same level of effort
in finfish harvesting due to circumstances beyond the Claimant’s control (such as illness,

8
     When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
     copies or originals of the documents.
9
     For the Seafood Compensation Program, the Benchmark Period is defined independently for each Seafood
     Compensation Program Plan and is set forth within the specific Plan. Definitions of Benchmark Period in any
     other frameworks in the Deepwater Horizon Economic And Property Damages Settlement Agreement do not
     apply in the Seafood Compensation Program.


                                                      43
                                                                                                         029350
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 55 of 96




disability or major mechanical failure), the Claims Administrator may at his discretion allow the
Claimant to exclude one or more years of the Benchmark Period.

A Vessel Owner or Commercial Fisherman Vessel Lessee must submit separate Vessel
Owner/Commercial Fisherman Vessel Lessee claims for each vessel they owned or leased and
may select different Benchmark Periods for different vessels.

A Boat Captain’s claim reflects the Claimant’s activities on all vessels, and the Claimant must
select a single Benchmark Period for the Boat Captain’s claim.

A Vessel Owner or Commercial Fisherman Vessel Lessee who also submits a Boat Captain
claim may select different Benchmark Periods for the Claimant’s Vessel Owner/Commercial
Fisherman Vessel Lessee claim and the Claimant’s Boat Captain claim.

Compensation Plan Method:

Vessel Owners/Commercial Fisherman Vessel Lessees and Boat Captains will be compensated
through the Historical Revenue Method. A Vessel Owner or Commercial Fisherman Vessel
Lessee must submit separate Vessel Owner/Commercial Fisherman Vessel Lessee claims for
each vessel they owned or leased.

Additionally, owners of Individual Fishing Quota (“IFQ”) shares may be eligible to receive
compensation for their IFQ shares under the IFQ Share Compensation Method.

I.       Historical Revenue Method

          A.    Eligibility Requirements

               1.     Vessel Owner/Commercial Fisherman Vessel Lessee

To be eligible under the Historical Revenue Method, a Vessel Owner/Commercial Fisherman
Vessel Lessee must meet the eligibility requirements of the applicable paragraphs of the
“Generally Applicable Provisions of the Finfish Compensation Plan” above and provide
evidence to demonstrate his or her commercial finfishing revenue during the selected Benchmark
Period.

               2.     Boat Captains

To be eligible under the Historical Revenue Method, a Boat Captain must meet the eligibility
requirements of the applicable paragraphs of the “Generally Applicable Provisions of the Finfish
Compensation Plan” above and provide evidence to demonstrate his or her commercial gross
earnings from commercial finfishing on vessels for which he or she served as Boat Captain
during the selected Benchmark Period.




                                               44
                                                                                           029351
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 56 of 96




       B.     Documentation Required

             1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Historical Revenue Method must provide documents sufficient to prove the eligibility
requirements in Section I.A.1 above and to determine compensation pursuant to Section I.C
below, including the following:

                    a.     Trip ticket or their equivalents, such as dealer forms, for each
                           vessel for which Claimant seeks compensation, which show the
                           volume of finfish harvested and the sales price as shown on the trip
                           tickets or their equivalents for the Benchmark Period for finfish
                           landed in the Gulf Coast Areas. The Claimant must provide
                           sufficient documentation for the Claims Administrator to be able to
                           identify gross revenue derived for each vessel solely for finfish
                           landed in the Gulf Coast Areas during the Benchmark Period. The
                           total volume multiplied by price will be the applicable gross
                           revenue.

                           – OR –

                    b.     Federal or state tax and financial information as follows:

                           i.       If Claimant is an entity, federal tax returns or state tax
                                    returns, and sufficient documentation to identify
                                    components of gross revenue derived from commercial
                                    finfish harvesting by vessel for the Benchmark Period for
                                    each vessel for which the Claimant submits a Vessel
                                    Owner/Commercial Fisherman Vessel Lessee claim.

                           ii.      If Claimant is an individual, federal form 1040 including
                                    Schedules C, E and F or state tax forms as well as sufficient
                                    documentation to identify those components of earnings
                                    derived from commercial finfish harvesting by vessel for
                                    the Benchmark Period.

                           iii.     In addition, the Claimant must provide sufficient
                                    documentation for the Claims Administrator to be able to
                                    identify (i) the Claimant’s revenue from finfishing as
                                    compared to other sources and (ii) Claimant’s revenue from
                                    landings in the Gulf Coast Areas. If necessary, the Claims
                                    Administrator may require supplemental information from
                                    the Claimant in order to make these determinations.

                    c.     In addition, if available, it is requested that the Claimant also
                           provide the following documents, to assist the Claims
                           Administrator:
                                              45
                                                                                           029352
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 57 of 96




                              i.     Vessel log book

                              ii.    Share sheets

                              iii.   Proof of vessel size and type

                              iv.    Sales or other production reports maintained in the normal
                                     course of business

              2.     Boat Captains

Boat Captains seeking compensation under the Historical Revenue Method must provide
documents sufficient to prove the eligibility requirements in Section I.A.2 and to determine
compensation pursuant to Section I.C below, including the following:

                     a.       Trip tickets or their equivalents for each vessel for which the
                              Claimant seeks compensation, which show the volume of finfish
                              harvested and the sales price as shown on the trip tickets or their
                              equivalents for the Benchmark Period for finfish landed in the Gulf
                              Coast Areas. The total volume multiplied by price will be the
                              applicable gross revenue.

                     – OR –

                     b.       Federal tax returns, including Schedules C, E and F, W-2s, and
                              1099s or state tax returns with supporting documents for the
                              Benchmark Period and sufficient documentation to identify those
                              components of earnings derived from commercial finfish
                              harvesting for the Benchmark Period for the vessel(s) selected by
                              the Claimant. In addition, the Claimant must provide sufficient
                              documentation for the Claims Administrator to be able to identify
                              revenue from finfish landings in the Gulf Coast Areas for each
                              vessel while the Claimant was Boat Captain. If necessary, the
                              Claims Administrator may require supplemental information from
                              the Claimant in order to make these determinations.

                     c.       In addition, if available, it is requested that the Claimant also
                              provide the following documents, to assist the Claims
                              Administrator:

                              i.     Captain’s log book

                              ii.    Vessel log book

                              iii.   Share sheets

                              iv.    Proof of vessel size and type for Captained vessels


                                               46
                                                                                           029353
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 58 of 96




                          v.     Sales or other production reports maintained in the normal
                                 course of business

     C.    Compensation Calculations

          1.     Calculate Benchmark Finfish Revenue.

                 a.       If trip tickets or their equivalents are used, the volume and price of
                          finfish on the trip tickets or their equivalents are used to calculate
                          gross revenue from finfish landed in the Gulf Coast Areas. If the
                          Claimant is a Vessel Owner/Commercial Fisherman Vessel Lessee,
                          the Claimant may provide trip tickets or their equivalents for the
                          Benchmark Period for each vessel for which compensation is being
                          sought. If the Claimant is a Boat Captain, the Claimant may
                          provide trip tickets or their equivalents for all vessels he or she
                          served as a Captain during the Benchmark Period.

                 – OR –

                 b.       The Claims Administrator may determine the gross vessel revenue
                          for Boat Captain earnings from finfish landings in the Gulf Coast
                          Areas based on the Claimant’s tax returns, or financial information
                          if the Claims Administrator has sufficient information to
                          determine: (i) Claimant’s revenue from finfish harvesting as
                          compared to other sources, (ii) Claimant’s revenue from finfish
                          landings in the Gulf Coast Areas. If necessary, the Claims
                          Administrator may require supplemental information from the
                          Claimant in order to make these determinations.

          2.      If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue
                  was calculated using trip tickets or their equivalents, calculate
                  Benchmark Finfish Cost. Benchmark Finfish Cost is calculated by
                  multiplying Benchmark Finfish Revenue by the Finfish Cost Percentage.
                  The Finfish Cost Percentage, 27%, is expressed as a percentage of
                  revenue and reflects standard industry non-labor variable costs. If the
                  Claimant is a Boat Captain and Benchmark Revenue was calculated
                  based upon his earnings, such as from tax returns or financial
                  information, then no Finfish Cost Percentage is applied, skip to step 3.

   Benchmark Finfish Cost = (Benchmark Finfish Revenue * Finfish Cost Percentage)

          3.     Calculate the Base Finfish Loss using the Finfish Loss Percentage of 25%.

                 a.       If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                          Vessel Lessee or (ii) the Claimant is a Boat Captain and
                          Benchmark Revenue was calculated using trip tickets or their
                          equivalents, the Base Loss is calculated as follows:
                                            47
                                                                                          029354
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 59 of 96




   Base Finfish Loss = (Benchmark Finfish Revenue – Benchmark Finfish Cost) * 25%

                    b.     If the Claimant is a Boat Captain and Benchmark Revenue was
                           calculated using a different source than trip tickets or their
                           equivalents, the Base Loss is calculated as follows:

                  Base Finfish Loss = Benchmark Finfish Revenue * 25%

          4.        Determine Base Compensation by multiplying Base Finfish Loss by the
                    appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or Boat
                    Captain share. Vessel Owner/Commercial Fisherman and Boat Captain
                    shares are: 45% for the Vessel/Owner Commercial Fisherman and 35%
                    for the Finfish Boat Captain.

                    a.     Base Compensation for Vessel Owners/Commercial Fisherman
                           Vessel Lessees is calculated as below and found in Table 1:

               Base Compensation = Base Finfish Loss * Finfish Vessel Share

                                           TABLE 1

                       FINFISH VESSEL                       FINFISH BOAT
                    OWNERS/COMMERCIAL                      CAPTAIN SHARE
                     FISHERMAN VESSEL
                        LESSEE SHARE

                                    45%                            35%



                    b.     Base Compensation for Finfish Boat Captains is calculated as:

                           i.        If Finfish Boat Captain Compensation is calculated based
                                     on trip tickets, then the Base Compensation for the Finfish
                                     Boat Captain is calculated as:

         Base Compensation = Base Finfish Loss * Finfish Boat Captain Share

                           ii.       If Finfish Boat Captain Compensation is calculated based
                                     on tax returns and financial records, then the Base
                                     Compensation for the Finfish Boat Captain is calculated as:

                                 Base Compensation = Base Finfish Loss

          5.        Apply the RTP to Base Compensation in order to determine Final
                    Compensation. Base Compensation is specific to Claimant type and is
                    found in Table 2.

                                              48
                                                                                          029355
  Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 60 of 96




            Final Compensation = Base Compensation + (Base Compensation * RTP)

                                          TABLE 2

                                   FINFISH VESSEL                      FINFISH BOAT
                                OWNERS/COMMERCIAL                        CAPTAINS
                                 FISHERMAN VESSEL
                                      LESSEES
             RTP                         6.0                                  5.0

II.   Compensation for IFQ Quota Holders

The Finfish Quota Allocation Method provides a fixed compensation amount to Claimants that
meet certain requirements and are Individual Fishing Quota (“IFQ”) shareholders.

       A.      Eligibility and Documentation Requirements

In order to be eligible to qualify for compensation under the Individual Fishing Quota
Shareholder Method, the Claimant must provide:

              1.     Proof of ownership as of April 20, 2010 of the Individual Fishing Quota
                     share for all species identified by IFQs, including Red Snapper, Gag
                     Grouper Red Grouper, Deep Water Grouper Shallow Water Grouper and
                     Tilefish.

       B.      Compensation Calculations

              1.     Individual Fishing Quota Shareholders that have provided the proof of
                     eligibility and the required documentation set forth in section II.A. above
                     shall receive the compensation based on the value of Individual Fishing
                     Quota shares held. IFQ shares are defined as the right to catch 0.0001% of
                     the pounds of the catch the relevant species that can be caught by
                     commercial fishermen under the relevant quota.

              2.     In the aggregate, IFQ holders will receive compensation of $50 million. If
                     the $50 million is not exhausted in payment of IFQ Shareholder claimants,
                     then any remaining amount shall be distributed as part of the balance
                     described in the “General Framework and Overview of Seafood
                     Compensation Program Distribution” section of this Seafood
                     Compensation Program.

              3.     IFQ Shareholder Claimants will be compensated in proportion to the
                     percentage of the total value of IFQ shares, calculated across all species.
                     The relevant prices and aggregate value of IFQ shares is summarized in
                     Table 2. The table reports NOAA 2010 IFQ data on the prices at which
                     IFQ shares were sold, with a “share” defined as 0.0001% of pounds of
                     catch allowed under the species-specific IFQ program.

                                             49
                                                                                          029356
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 61 of 96




                                              TABLE 2

              Species                     Price per .0001% Share     Total Value ($Million)

              Red Snapper                          $44.90                       $44.9

              Gag Grouper                           $6.75                       $6.8

              Red Grouper                          $20.67                       $20.7

              Deep Water Grouper                    $4.99                       $5.0

              Shallow Water Grouper                 $1.64                       $1.6

              Tilefish                              $1.08                       $1.1

              Total                                                             $80.0


              4.      Compensation for IFQ share holders is calculated as follows:

                      a.     The value of a Claimant’s IFQ shares is calculated as the product
                             of the species-specific number of quota shares held and the
                             species-specific value per quota share, as reflected in Table 3.

                      b.     The compensation received by a Claimant is calculated by
                             multiplying the value of the Claimant’s share multiplied by 0.625.

              For example, a Claimant with 1,000 shares of Red Grouper would have a IFQ
              share value of $20,670 (1,000 shares * $20.67). The Claimant would then receive
              compensation of $12,918.75 ($20,670 * 0.625).

III.   Vessel Lease Compensation Allocation

To the extent the Vessel was leased by the Vessel Owner to the Commercial Fisherman Vessel
Lessee as of April 20, 2010, compensation will be allocated between the parties based upon
Benchmark Revenue, as calculated above and Annual Lease Payment. The Annual Lease
Payment shall be calculated as the annual payment to the Vessel Owner by the Commercial
Fisherman Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the
Vessel Owner Share of Final Compensation. The Commercial Fisherman Vessel Lessee’s Share
of Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

Vessel Owner Share of Final Compensation = Final Compensation * (Annual Lease Payment /
Benchmark Revenue)


                                              50
                                                                                         029357
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 62 of 96




    Commercial Fisherman Vessel Lessee’s Share of Final Share of Compensation = Final
    Compensation - Vessel Owner Share of Final Compensation.




                                        51
                                                                               029358
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 63 of 96




                    BLUE CRAB/OTHER SEAFOOD COMPENSATION PLAN

Generally Applicable Provisions of the Blue Crab/Other Seafood Compensation Plan:

1.        Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
          exclusions to the Economic Loss and Property Class Definition, (ii) who are Vessel
          Owners, Commercial Fishermen who lease Seafood Vessels (Commercial Fisherman
          Vessel Lessee), and/or Seafood Boat Captains that derive income from commercial
          fishing for blue crab and/or Other Seafood,10 and (iii) who meet the additional criteria
          listed in this Blue Crab/Other Seafood Compensation Plan.

2.        It is understood that in some instances, the Vessel Owner is also the Commercial
          Fisherman; however, it may be the case that the Vessel Owner leased the vessel to a
          Commercial Fisherman. In those instances where the vessel was leased during the time
          period of April 20, 2010 to December 31, 2010, the Vessel Owner and Commercial
          Fisherman Vessel Lessee must file the vessel claim jointly in order to receive
          compensation prior to the Bar Date, and they shall share any Vessel Owner/Commercial
          Fisherman Vessel Lessee compensation provided for in this Blue Crab/Other Seafood
          Compensation Plan. If at the time of the Bar Date either the Vessel Owner or the
          Commercial Fisherman Vessel Lessee has not filed a claim, the one that has filed the
          claim shall receive the full Vessel Owner/Commercial Fisherman Vessel Lessee
          compensation for the vessel. The allocation of compensation between Vessel Owner and
          Commercial Fisherman Vessel Lessee shall be determined as provided in Section II. If
          the vessel was not leased to a Commercial Fisherman Vessel Lessee during the time
          period of April 20, 2010 to December 31, 2010, the Vessel Owner is entitled to the full
          Vessel Owner/Commercial Fisherman Vessel Lessee compensation for the vessel.

3.        It is understood that in some instances, the Vessel Owner and/or the Commercial
          Fisherman Vessel Lessee is also the Boat Captain. In those instances where the Vessel
          Owner and/or the Commercial Fisherman Vessel Lessee were also the Boat Captain, they
          shall be eligible to receive the Boat Captain compensation portion for the vessel under the
          Blue Crab/Other Seafood Compensation Plan as set forth below. If the Vessel Owner
          and/or Commercial Fisherman Vessel Lessee employed a Boat Captain on the vessel and
          did not serve as a Boat Captain on that vessel, the hired Boat Captain is eligible for the
          Boat Captain compensation, not the Vessel Owner or Commercial Fisherman Vessel
          Lessee.

4.        To establish eligibility to participate in the Blue Crab/Other Seafood Compensation Plan,
          a Vessel Owner Claimant must provide for each vessel(s) for which the Claimant is
          seeking compensation:

          A.       Proof of ownership of the vessel during the time period of April 20, 2010 to
                   December 31, 2010.

10
      Other Seafood shall be defined to mean all forms of seafood included in the Exhibit 3 of the Deepwater Horizon
      Economic And Property Damages Settlement Agreement (Seafood Distribution Chain Definitions) including
      stone crab and spiny lobster, but excluding shrimp, oysters, finfish and blue crab.


                                                         52
                                                                                                             029359
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 64 of 96




     B.     Proof that as of April 20, 2010 there was a government license (even if it had
            expired before that date) that authorized that vessel to commercially fish for blue
            crab or Other Seafood in the Specified Gulf Waters for the 2009 season or the
            2010 season.

     C.     The vessel name and any applicable federal and/or state vessel registration
            identification numbers.

     D.     Proof that either:

            1.     the vessel was home ported in the Gulf Coast Areas at any time from
                   April 20, 2010 to April 16, 2012; or,

            2.     the vessel landed blue crab and/or Other Seafood in the Gulf Coast Areas
                   at any time from April 20, 2009 to April 16, 2012.

     E.     A sworn statement attesting as to whether or not the vessel was leased during the
            time period April 20, 2010 to December 31, 2010. If the vessel was leased during
            this time period, the Vessel Owner must provide a copy of the lease agreement.

     F.     A sworn statement attesting as to whether or not the Vessel Owner was the Boat
            Captain for that vessel during January 1, 2007 through December 31, 2009. If the
            Vessel Owner was not the sole Boat Captain for that vessel for some portion of
            January 1, 2007 through December 31, 2009, to the extent possible, the Claimant
            shall identify all other Boat Captains employed on the vessel and the time periods
            for which the Boat Captains were employed.

5.   To establish eligibility to participate in the Blue Crab/Other Seafood Compensation Plan,
     a Commercial Fisherman Vessel Lessee must provide for each vessel for which the
     Claimant seeks compensation:

     A.     Proof that during the period of April 20, 2010 through December 31, 2010 the
            Claimant leased the vessel to be used for commercial blue crab and/or Other
            Seafood harvesting.

     B.     Proof that as of April 20, 2010 there was a government license (even if it had
            expired before that date) that authorized that vessel to commercially fish for blue
            crab and/or Other Seafood in the Specified Gulf Waters for the 2009 season or the
            2010 season.

     C.     The vessel name and any applicable federal and/or state vessel registration
            identification numbers.

     D.     Proof that either:

            1.     the vessel was home ported in the Gulf Coast Areas at any time from
                   April 20, 2010 to April 16, 2012; or,


                                            53
                                                                                         029360
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 65 of 96




                  2.      the vessel landed blue crab and/or Other Seafood in the Gulf Coast Areas
                          at any time from April 20, 2009 to April 16, 2012.

          E.      A sworn statement, attesting that the Commercial Fisherman Vessel Lessee leased
                  the vessel during the time period of April 20, 2010 to December 31, 2010. The
                  Commercial Fisherman Vessel Lessee must also provide a copy of the lease
                  agreement for the vessel.

          F.      A sworn statement attesting as to whether or not the Commercial Fisherman
                  Vessel Lessee was the Boat Captain for that vessel during January 1, 2007
                  through December 31, 2009. If the Commercial Fisherman Vessel Lessee was not
                  the sole Boat Captain for that vessel for some portion of January 1, 2007 through
                  December 31, 2009, to the extent possible, the Claimant shall identify all other
                  Boat Captains employed on the vessel and the time periods for which the Boat
                  Captains were employed.

6.        To establish eligibility to participate in the Blue Crab/Other Seafood Compensation Plan
          a Boat Captain must provide:

          A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                  (even if it had expired before that date) authorizing the Claimant to operate as a
                  Boat Captain and/or to commercially fish for blue crab and/or Other Seafood in
                  the Specified Gulf Waters for the 2009 season or the 2010 season.

          B.      Proof that either the Boat Captain worked:

                  1.      on one or more commercial blue crab or Other Seafood vessels that were
                          home ported in the Gulf Coast Areas at any time from April 20, 2010 to
                          April 16, 2012; or,

                  2.      on one or more commercial blue crab or Other Seafood vessels that landed
                          blue crab or Other Seafood in the Gulf Coast Areas at any time from
                          April 20, 2009 to April 16, 2012.

7.        A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
          Related Payments. If the Claimant received Seafood Spill-Related Payments, the
          Claimant shall provide documents11 sufficient to establish the timing, amount and source
          of Seafood Spill-Related Payments, including documents providing the claimant’s
          BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
          payments.




11
      When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
      copies or originals of the documents.


                                                     54
                                                                                                    029361
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 66 of 96




Blue Crab/Other Seafood Compensation Plan Definition:

Benchmark Period12 is selected by the Claimant and can be (i) 2009, (ii) 2008 and 2009, or
(iii) 2007, 2008 and 2009. If the Claimant elects to use years 2008 and 2009 or 2007, 2008, and
2009, the annual revenue amounts shall be averaged. In the event the Claims Administrator
determines that the Claimant (individual or vessel) did not participate at the same level of effort
in blue crab/other seafood harvesting due to circumstances beyond the Claimant’s control (such
as illness, disability or major mechanical failure), the Claims Administrator may at his discretion
allow the Claimant to exclude one or more years of the Benchmark Period.

A Vessel Owner or Commercial Fisherman Vessel Lessee must submit separate Vessel
Owner/Commercial Fisherman Vessel Lessee claims for each vessel they owned or leased and
may select different Benchmark Periods for different vessels.

A Boat Captain’s claim reflects the Claimant’s activities on all vessels, and the Boat Captain
must select a single Benchmark Period for the Claimant’s claim.

A Vessel Owner or Commercial Fisherman Vessel Lessee who also submits a Boat Captain
claim may select different Benchmark Periods for the Claimant’s Vessel Owner/Commercial
Fisherman Vessel Lessee claim and the Claimant’s Boat Captain claim.

Compensation Plan Method:

Vessel Owners/Commercial Fisherman Vessel Lessees and Boat Captains will be separately
compensated for blue crab claims and Other Seafood claims through the Historical Revenue
Method. Claimants may submit a claim for either or both blue crab or Other Seafood categories.
Compensation for blue crab claims is set forth in Section I.C and compensation for Other
Seafood claims is set forth in Section I.D. A Vessel Owner or Commercial Fisherman Vessel
Lessee must submit separate Vessel Owner/Commercial Fisherman Vessel Lessee claims for
each vessel they owned or leased.

Additionally, Vessel Owners and Commercial Fisherman Vessel Lessees that establish they
commercially fished for blue crab in the Benchmark Period and who satisfy the applicable
paragraphs of the Generally applicable Provisions of the Blue Crab/Other Seafood Compensation
Plan above and in Section I.A. below will receive a lump sum payment as set forth in Section I.




12
      For the Seafood Compensation Program, the Benchmark Period is defined independently for each Seafood
      Compensation Program Plan and is set forth within the specific Plan. Definitions of Benchmark Period in any
      other frameworks in the Deepwater Horizon Economic And Property Damages Settlement Agreement do not
      apply in the Seafood Compensation Program.


                                                       55
                                                                                                          029362
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 67 of 96




I.       Historical Revenue Method

          A.    Eligibility Requirements

               1.     Vessel Owner/Commercial Fisherman Vessel Lessee

To be eligible under the Historical Revenue Method, a Vessel Owner/Commercial Fisherman
Vessel Lessee must meet the eligibility requirements of the applicable paragraphs of the
“Generally Applicable Provisions of the Blue Crab/Other Seafood Compensation Plan” and
provide evidence to demonstrate the Claimant’s commercial blue crab and/or Other Seafood
revenue during the selected Benchmark Period.

               2.     Boat Captains

To be eligible under the Historical Revenue Method, a Boat Captain must meet eligibility
requirements of the applicable paragraphs of the “Generally Applicable Provisions of the Blue
Crab/Other Seafood Compensation Plan” requirements of the Blue Crab/Other Seafood
Compensation Plan and provide evidence to demonstrate the Claimant’s gross earnings from
commercial blue crab and/or Other Seafood harvesting on vessels for which the Claimant served
as Boat Captain during the selected Benchmark Period.

          B.    Documentation Required

               1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Historical Revenue Method must provide documents sufficient to prove the eligibility
requirements in Section I.A.1 above and to determine compensation pursuant to Section I.C or
I.D below, including the following:

                      a.    Trip ticket or their equivalents, such as dealer forms, for each
                            vessel for which Claimant seeks compensation, which show the
                            volume of blue crab and/or Other Seafood harvested and the sales
                            price as shown on the trip tickets or their equivalents for the
                            Benchmark Period for blue crab and/or Other Seafood landed in
                            the Gulf Coast Areas. The Claimant must provide sufficient
                            documentation for the Claims Administrator to be able to identify
                            gross revenue derived for each vessel solely for blue crab and/or
                            Other Seafood landed in the Gulf Coast Areas during the
                            Benchmark Period. The total volume multiplied by price will be
                            the applicable gross revenue.

                            – OR –

                      b.    Federal or state tax returns and financial information as follows:

                            i.       If Claimant is an entity, federal tax returns, state tax returns
                                     and sufficient documentation to identify components of

                                               56
                                                                                               029363
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 68 of 96




                                  gross revenue derived from commercial blue crab and/or
                                  Other Seafood harvesting by vessel for the Benchmark
                                  Period for each vessel for which the Claimant submits a
                                  Vessel Owner/Commercial Fisherman Vessel Lessee claim.

                           ii.    If Claimant is an individual, federal form 1040 including
                                  Schedules C, E and F or state tax forms and supporting
                                  documents as well as sufficient documentation to identify
                                  by vessel components of gross earnings derived from
                                  commercial blue crab and/or Other Seafood harvesting for
                                  the Benchmark Period for each vessel for which the
                                  Claimant submits a Vessel Owner/Commercial Fisherman
                                  Vessel Lessee claim.

                           iii.   In addition, the Claimant must provide sufficient
                                  documentation for the Claims Administrator to be able to
                                  identify (i) the Claimant’s revenue from blue crab and/or
                                  Other Seafood as compared to other sources and
                                  (ii) Claimant’s revenue from landings in the Gulf Coast
                                  Areas. If necessary, the Claims Administrator may require
                                  supplemental information from the Claimant in order to
                                  make these determinations.

                    c.     In addition, if available, it is requested that the Claimant also
                           provide the following documents, to assist the Claims
                           Administrator:

                           i.     Vessel log book

                           ii.    Share sheets

                           iii.   Proof of vessel size and type

                           iv.    Sales or other production reports maintained in the normal
                                  course of business

             2.     Boat Captains

Boat Captains seeking compensation under the Historical Revenue Method must provide
documents sufficient to prove the eligibility requirements in Section I.A.2 above and to
determine compensation pursuant to Section I.C. or I.D. below, including the following:

                    a.     Trip tickets or their equivalents for each vessel for which the
                           Claimant seeks compensation, which show the volume of blue crab
                           and/or Other Seafood harvested and the sales price as shown on the
                           trip tickets or their equivalents for the Benchmark Period for blue
                           crab and/or Other Seafood landed in the Gulf Coast Areas. The


                                            57
                                                                                        029364
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 69 of 96




                             total volume multiplied by price will be the applicable gross
                             revenue.

                             – OR –

                     b.      Federal tax returns, including Schedules C, E and F, W-2s, and
                             1099s or state tax returns with supporting documents for the
                             Benchmark Period and sufficient documentation to identify those
                             components of gross earnings derived from commercial blue crab
                             and/or Other Seafood harvesting for the Benchmark Period for the
                             vessel(s) selected by the Claimant. In addition, the Claimant must
                             provide sufficient documentation for the Claims Administrator to
                             be able to identify revenue from blue crab and/or Other Seafood
                             landings in the Gulf Coast Areas for each vessel while the
                             Claimant was Boat Captain.            If necessary, the Claims
                             Administrator may require supplemental information from the
                             Claimant in order to make these determinations.

                     c.      In addition, if available, it is requested that the Claimant also
                             provide the following documents, to assist the Claims
                             Administrator:

                             i.       Captain’s log book

                             ii.      Vessel log book

                             iii.     Share sheets

                             iv.      Proof of vessel size and type for Captained vessels

                             v.       Sales or other production reports maintained in the normal
                                      course of business

        C.     Compensation Calculations for Blue Crab

The Claims Administrator shall determine compensation separately for blue crab and for Other
Seafood. The compensation for gross revenue or earnings attributable to blue crab is determined
as set forth in Section I.C. The separate and independent compensation for gross revenue or
earnings attributable to Other Seafood is determined as set forth in Section I.D.

              1.     Calculate Benchmark Blue Crab Revenue.

                     a.      If trip tickets or their equivalents are used, the volume and price of
                             blue crab on the trip tickets or their equivalents are used to
                             calculate gross revenue from blue crab landed in the Gulf Coast
                             Areas. If the Claimant is a Vessel Owner/Commercial Fisherman
                             Vessel Lessee, the Claimant may provide trip tickets for the
                             Benchmark Period for each Vessel for which compensation is

                                                58
                                                                                             029365
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 70 of 96




                         being sought. If the Claimant is a Boat Captain, the Claimant may
                         provide trip tickets or their equivalents for all vessels the Claimant
                         served as a Captain during the Benchmark Period.

                         – OR –

                  b.     The Claims Administrator may determine the gross vessel revenue
                         or Boat Captain earnings from blue crab landings in the Gulf Coast
                         Areas based on the Claimant’s tax returns or financial information
                         if the Claims Administrator has sufficient information to
                         determine: (i) Claimant’s revenue from blue crab as compared to
                         other sources and (ii) Claimant’s revenue from blue crab landings
                         in the Gulf Coast Areas. If necessary, the Claims Administrator
                         may require supplemental information from the Claimant in order
                         to make these determinations.

           2.     Calculate Total Adjusted Benchmark Blue Crab Revenue by multiplying
                  the Adjusted Benchmark Blue Crab Revenue by 1.2, the Adjustment for
                  Changes in 2010-11 Prices.

                  Total Adjusted Benchmark Blue Crab Revenue =
      (Benchmark Blue Crab Revenue * Adjustment for Changes in 2010-11 Prices).

           3.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                  calculated using trip tickets or their equivalents, calculate Benchmark Blue
                  Crab Cost. Benchmark Blue Crab Cost is calculated by multiplying
                  Benchmark Blue Crab Revenue by the Blue Crab Cost Percentage of 35%.
                  The Blue Crab Cost Percentage is expressed as a percentage of revenue
                  and reflects standard industry non-labor variable costs. If the Claimant is
                  a Boat Captain and Benchmark Revenue was calculated based upon his
                  earnings, such as from tax returns or financial information, then no Blue
                  Crab Cost Percentage is applied, skip to step 4.

Benchmark Blue Crab Cost = (Benchmark Blue Crab Revenue * Blue Crab Cost Percentage)

           4.     Calculate the Base Blue Crab Loss using the Blue Crab Loss Percentage of
                  35%.

                  a.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                         Vessel Lessee or (ii) the Claimant is a Boat Captain and
                         Benchmark Revenue was calculated using trip tickets or their
                         equivalents, the Base Loss is calculated as follows:

                               Base Blue Crab Loss =
   (Total Adjusted Benchmark Blue Crab Revenue – Benchmark Blue Crab Cost) * 35%



                                           59
                                                                                         029366
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 71 of 96




                 b.     If the Claimant is a Boat Captain and Total Adjusted Benchmark
                        Revenue was calculated using a different source than trip tickets or
                        their equivalents, the Base Loss is calculated as follows:

        Base Blue Crab Loss = Adjusted Benchmark Blue Crab Revenue * 35%

          5.     Determine Base Compensation by multiplying Base Blue Crab Loss by the
                 appropriate Vessel Owner/Commercial Fisherman Vessel Lessee share.
                 Vessel Owner and Boat Captain shares are presented in Table 1.

                 a.     Base Compensation for Vessel Owners/Commercial Fisherman
                        Vessel Lessees is calculated as:

                  Base Compensation = Base Blue Crab Loss * 50%

                 b.     Base Compensation for Blue Crab Boat Captains is calculated as:

                        i.     if Blue Crab Boat Captain Compensation is calculated
                               based on trip tickets, then the Base Compensation for Blue
                               Crab Boat Captain is calculated as:

                  Base Compensation = Base Blue Crab Loss * 30%

                        ii.    If Blue Crab Boat Captain Compensation is calculated
                               based on tax returns and financial records, Compensation
                               for Blue Crab Boat Captain is calculated as:

                         Base Compensation = Base Blue Crab Loss

                                     TABLE 1

                  BLUE CRAB VESSEL               BLUE CRAB BOAT
                 OWNER/COMMERCIAL                CAPTAIN SHARE
                  FISHERMAN VESSEL
                     LESSEE SHARE
                          50%                             30%


          6.     Apply the RTP to Base Compensation in order to determine Final
                 Compensation. Base Compensation is specific to Claimant type and is
                 found in Table 2.

   Final Blue Crab Compensation = Base Compensation + (Base Compensation * RTP)




                                         60
                                                                                      029367
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 72 of 96




                                         TABLE 2

                                BLUE CRAB VESSEL                     BLUE CRAB BOAT
                               OWNERS/COMMERCIAL                        CAPTAINS
                                FISHERMAN VESSEL
                                     LESSEES
            RTP                        6.0                                     5.0


In addition, Vessel Owners/Commercial Fisherman Vessel Lessees who receive Final Blue Crab
Compensation shall also receive a lump sum payment of $7,500 per vessel.

      D.     Compensation Calculations for Other Seafood

             1.     Calculate Benchmark Other Seafood Revenue

                    a.     If trip tickets or their equivalents are used, the volume and price of
                           Other Seafood on the trip tickets or their equivalents are used to
                           calculate gross revenue from Other Seafood landed in the Gulf
                           Coast Areas. If the Claimant is a Vessel Owner/Commercial
                           Fisherman Vessel Lessee, the Claimant may provide trip tickets or
                           their equivalents for the Benchmark Period for each Vessel for
                           which compensation is being sought. If the Claimant is a Boat
                           Captain, the Claimant may provide trip tickets for all vessels the
                           Claimant served as a Captain during the Benchmark Period.

                           – OR –

                    b.     The Claims Administrator may determine the gross vessel revenue
                           or Boat Captain earnings from Other Seafood landings in the Gulf
                           Coast Areas based on the Claimant’s tax returns, monthly profit
                           and loss statements, or financial information if the Claims
                           Administrator has sufficient information to determine:
                           (i) Claimant’s revenue from Other Seafood as compared to other
                           sources and (ii) Claimant’s revenue from Other Seafood landings
                           in the Gulf Coast Areas. If necessary, the Claims Administrator
                           may require supplemental information from the Claimant in order
                           to make these determinations.

             2.     Calculate Total Adjusted Benchmark Other Seafood Revenue by
                    multiplying the Additional Catch Adjusted Benchmark Other Seafood
                    Revenue by 1.1, the Adjustment for Changes in 2010-11 Prices.

                  Total Adjusted Benchmark Other Seafood Revenue =
      (Benchmark Other Seafood Revenue * Adjustment for Changes in 2010-11 Prices).



                                             61
                                                                                           029368
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 73 of 96




            3.    If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                  calculated using trip tickets or their equivalents, calculate Benchmark
                  Other Seafood Cost. Benchmark Other Seafood Cost is calculated by
                  multiplying Benchmark Other Seafood Revenue by the Other Seafood
                  Cost Percentage of 35%. The Other Seafood Cost Percentage is expressed
                  as a percentage of revenue and reflects standard industry non-labor
                  variable costs. If the Claimant is a Boat Captain and Benchmark Revenue
                  was calculated based upon his earnings, such as from tax returns or
                  financial information, then no Other Seafood Cost Percentage is applied,
                  skip to step 5.

                          Benchmark Other Seafood Cost =
          (Benchmark Other Seafood Revenue * Other Seafood Cost Percentage)

            4.    Calculate the Base Other Seafood Loss using the Other Seafood Loss
                  Percentage of 10%.

                  a.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                         Vessel Lessee or (ii) the Claimant is a Boat Captain and
                         Benchmark Revenue was calculated using trip tickets or their
                         equivalents, the Base Loss is calculated as follows

                              Base Other Seafood Loss =
(Total Adjusted Benchmark Other Seafood Revenue – Benchmark Other Seafood Cost) * 10%

                  b.     If the Claimant is a Boat Captain and Benchmark Revenue was
                         calculated using a different source than trip tickets or their
                         equivalents, the Base Loss is calculated as follows

   Base Other Seafood Loss = Total Adjusted Benchmark Other Seafood Revenue * 10%

            5.    Determine Base Compensation by multiplying Base Other Seafood Loss
                  by the appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or
                  Boat Captain share. Vessel Owner and Boat Captain shares are presented
                  in Table 3.

                  a.     Base Compensation for Vessel Owners/Commercial Fisherman
                         Vessel Lessees is calculated as:

                 Base Compensation = Base Other Seafood Loss * 50%

                  b.     Base Compensation for Other Seafood Boat Captains is calculated
                         as:




                                         62
                                                                                    029369
  Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 74 of 96




                            i.      If Other Seafood Boat Captain Compensation is calculated
                                    based on trip tickets, then Other Seafood Boat Captain Base
                                    Compensation is calculated as:

                    Base Compensation = Base Other Seafood Loss * 30%

                            ii.     If Other Seafood Boat Captain Compensation is calculated
                                    based on tax returns and financial records, then Other
                                    Seafood Boat Captain Base Compensation is calculated as:

                           Base Compensation = Base Other Seafood Loss

                                         TABLE 3

                     OTHER SEAFOOD                 OTHER SEAFOOD
                          VESSEL                    BOAT CAPTAIN
                   OWNER/COMMERCIAL                    SHARE
                    FISHERMAN VESSEL
                       LESSEE SHARE
                            50%                            30%


       6.     Apply the RTP to Base Compensation in order to determine Final Compensation.
              Base Compensation is specific to Claimant type and is found in Table 1.

            Final Compensation = Base Compensation + (Base Compensation * RTP)

                                         TABLE 4

                                    OTHER SEAFOOD                OTHER SEAFOOD BOAT
                                        VESSEL                        CAPTAINS
                                  OWNERS/COMMERCIAL
                                   FISHERMAN VESSEL
                                        LESSEES
             RTP                          5.5                                 4.5


II.    Vessel Lease Compensation Allocation

To the extent the Vessel was leased by the Vessel Owner to the Commercial Fisherman Vessel
Lessee as of April 20, 2010, compensation will be allocated between the parties based upon
Benchmark Revenue, as calculated above and Annual Lease Payment. The Annual Lease
Payment shall be calculated as the annual payment to the Vessel Owner by the Commercial
Fisherman Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the


                                             63
                                                                                         029370
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 75 of 96




Vessel Owner Share of Final Compensation. The Commercial Fisherman Vessel Lessee’s Share
of Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

Vessel Owner Share of Final Compensation = Final Compensation * (Annual Lease Payment /
Benchmark Revenue)

Commercial Fisherman Vessel Lessee’s Share of Final Share of Compensation = Final
Compensation - Vessel Owner Share of Final Compensation.




                                           64
                                                                                    029371
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 76 of 96




 Seafood Crew Compensation Plan for Individuals Who Are Seafood First Mates, Seafood
              Second Mates, Seafood Boatswains, and Seafood Deckhands

Overview

This Seafood Crew Compensation Plan is for Class Members who are Seafood First Mates,
Seafood Second Mates, Seafood Boatswains and Seafood Deckhands claiming economic loss
from employment by a Commercial Fisherman due to or resulting from the Deepwater Horizon
oil spill. Claimants seeking compensation under Category I or III must show they were
employed by a Commercial Fisherman in 2009, and Claimants seeking compensation under
Category II must show that they were employed by a Commercial Fisherman in 2009 or that
they had accepted a job offer to work for a Commercial Fisherman in 2010.

Any eligible Claimant may receive compensation based upon one of the following three
categories (but no more than one of the three categories), provided the Claimant satisfies the
requirements outlined below.

I.       INDIVIDUAL CLAIMANTS WITH TAX INFORMATION OR PAY PERIOD
         EARNINGS DOCUMENTATION FOR 2009: Applies to Claimants providing Tax
         Information Documents or Pay Period Earnings Documentation for the selected Base
         Year(s). Requirements detailed in Section I must be fulfilled.

II.      INDIVIDUAL CLAIMANTS WITHOUT TAX INFORMATION OR PAY PERIOD
         EARNINGS DOCUMENTATION WHO SUBMIT A CLAIMANT SWORN WRITTEN
         STATEMENT AND EMPLOYER SWORN WRITTEN STATEMENT TO
         ESTABLISH EARNINGS: Applies to two types of Claimants: (i) those without
         sufficient Tax Information Documents or Pay Period Earnings Documentation
         regarding 2009 earnings, but who provide Sworn Written Statements (from both the
         Claimant and the Claimant’s employer) presenting employment and compensation
         information for 2009; and (ii) those with proof of an offer of employment in a Claiming
         Job for 2010. Requirements detailed in Section II must be fulfilled.

III.     INDIVIDUAL CLAIMANTS WITHOUT TAX INFORMATION OR PAY PERIOD
         EARNINGS DOCUMENTATION WHO SUBMIT A CLAIMANT SWORN WRITTEN
         STATEMENT, SPONSOR SWORN WRITTEN STATEMENT(S) AND ATTORNEY
         SWORN WRITTEN STATEMENT (IF APPLICABLE) TO ESTABLISH EARNINGS:
         Applies to Claimants without sufficient Tax Information Documents or Pay Period
         Earnings Documentation and without an Employer Sworn Written Statement to
         document earnings for 2009 but who provide at least three Sworn Written Statements
         presenting employment and compensation information for 2009. Requirements detailed
         in Section III must be fulfilled.




                                               65
                                                                                          029372
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 77 of 96




Definitions

The following defined terms used in this Seafood Crew Compensation Plan shall have the
meanings set forth below and be presented in bold-faced type.13

          A.      Actual Earnings: Claimant’s Income actually earned from the Claiming Job.

          B.      Base Year(s): A Claimant selected period, applicable to Category I only, used for
                  historical comparison and defined as one of the following options, provided that
                  once selected, the same Base Year(s) shall be used in this Seafood Crew
                  Compensation Plan for all purposes for which a Base Year(s) is required for that
                  Claimant. Provided further, a Claimant is restricted to the following three options
                  in choosing the Claimant’s Base Year(s).

                  •   2009; or

                  •   The average of 2008 and 2009; or

                  •   The average of 2007, 2008 and 2009.

          C.      Benchmark Period: For purposes of this Seafood Crew Compensation Plan,
                  the Benchmark Period for claimants in Category I is the period of April 20
                  through December 31 of the year or years selected from the Base Year(s), and the
                  Benchmark Period for claimants in Categories II and III is April 20, 2009
                  through December 31, 2009. The Benchmark Period is used to establish
                  baseline earnings to be used in calculating the Claimant’s lost earnings arising out
                  of the harvesting of seafood due to the Deepwater Horizon oil spill.

          D.      Category II Aggregate Compensation Amount: $80 million is the Aggregate
                  Compensation Amount for Category II claims.

          E.      Category III Aggregate Compensation Amount: $50 million is the Aggregate
                  Compensation Amount available to pay Category III claims.

          F.      Claiming Job(s): The job held by the Claimant that meets the definition of
                  Seafood First Mate, Seafood Second Mate, Seafood Boatswain or Seafood
                  Deckhand.

          G.      Claims Administrator: The Claims Administrator and related staff appointed
                  pursuant to the Deepwater Horizon Economic And Property Damages Settlement
                  Agreement.

          H.      Income: Gross earnings from the Claiming Job.


13
      These definitions apply to the Seafood Crew Compensation Plan only and not to other aspects of the Seafood
      Compensation Program generally.


                                                       66
                                                                                                         029373
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 78 of 96




    I.    Pay Period Earnings Documentation: Documentation sufficient to establish a
          Claimant’s earnings from employment and hours worked during the applicable
          Benchmark Period. Documentation may include:

          •   Paycheck stubs; and/or

          •   Other employer records documenting actual amounts paid, if applicable;
              and/or

          •   Bank records showing income deposits and supporting documentation
              indicating the source of those deposits; and/or

          •   Receipts or records from check cashing or payday loan services and
              supporting documentation indicating the source of those funds; and/or

          •   Contracts for employment accompanied by documentation establishing that
              wages or other amounts to be paid pursuant to the contract, if applicable, were
              in fact paid; and/or

          •   Pay period earnings detail submitted under oath and included in court filings
              (for example, documentation provided in connection with divorce, child
              support, or wage garnishment proceedings).

    J.    Tax Information Documents: Tax Returns or Forms W-2 and/or 1099s.

    K.    Tax Returns: Federal or state income tax returns, including any relevant
          supporting schedules.

    L.    Sworn Claim Form: Each Claimant must complete and submit a Claim Form
          which the Claimant shall verify under penalties of perjury. The Claim Form
          shall direct the Claimant to provide information, including the Claimant’s chosen
          Base Year(s) for Category I. The Claimant shall attach required documents
          supporting the claim. All statements made in, and documents submitted with, the
          Sworn Claim Form may be verified as judged necessary by the Claims
          Administrator. The Claimant shall provide forms in which the Claimant shall
          authorize the Claims Administrator to: (1) verify employment and obtain copies
          of wage records, (2) obtain the relevant Tax Information Documents from the
          Internal Revenue Service and/or Social Security Administration, and (3) confirm
          any bank account information used in support of a claim, but the authorization for
          bank records shall be limited to the Claimant’s chosen Base Year(s). The Claim
          Form may be submitted in electronic fashion, including scanning of documents or
          copies of verification from public databases providing the same information as
          would be provided by the original document.




                                          67
                                                                                       029374
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 79 of 96




I.       CATEGORY I: INDIVIDUAL CLAIMANTS WITH TAX INFORMATION OR
         PAY PERIOD EARNINGS DOCUMENTATION FOR 2009

         Category I is open to all eligible Class Members claiming economic loss arising out of
         the harvesting of Seafood where the Claimant was employed by a Commercial
         Fisherman in 2009, worked or anticipated to work harvesting Seafood in 2010, and can
         provide sufficient documentation as set forth below. Claimant must provide either:
         (i) Claimant’s federal or state Tax Information Documents (Tax Returns or Forms
         W-2 and/or 1099) for the selected Base Year(s) or (ii) Pay Period Earnings
         Documentation sufficient to establish earnings from the Claiming Job for the selected
         Base Year(s). The Claimant’s compensation shall be calculated as set forth in Section
         I.D below and shall be based on the earnings from the Benchmark Period and the
         applicable RTP.

          A.     Documentation Requirements

                1.     Documentation Establishing Employment Earnings: For each year
                       included in the selected Base Year(s), Individual Claimants must provide
                       at least one of the following Tax Information Documents:

                       •      Federal tax Form 1040 pages 1 and 2, all pages of Schedules C, E,
                              and F, and any supporting statements attached to the Form 1040
                              filing (including Form W-2s for joint returns); or

                       •      State tax return, including any supporting schedules or statements;
                              or

                       •      Forms W-2 documenting earnings from the Claiming Job; or

                       •      Forms 1099 documenting earnings from the Claiming Job.

                       AND/OR

                For each year included in the selected Base Year(s), Pay-Period Earnings
                Documentation sufficient to establish the source(s) and amounts of earnings,
                which may include as follows:

                       •      Bank records showing income deposits and supporting
                              documentation indicating the source of those deposits; and/or

                       •      Documents from BP/GCCF/Transition Facility showing payment
                              and the Claimant’s BP/GCCF/Transition Facility Claim Number;

                       •      Receipts or records from check cashing services or payday loan
                              services and supporting documentation indicating the source of the
                              funds; and/or



                                               68
                                                                                           029375
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 80 of 96




               •     Other documents provided by an employer setting forth for such
                     other employment position(s): (i) required hours of work, (ii)
                     actual hours worked by Claimant, and (iii) compensation rate for
                     the Claiming Jobs.

          2.   Additional Claimant Documentation:

               a.    Claimant Employability Documentation: Consists of both:

                     i.     A copy of a Social Security card, government-issued
                            identification (for example, a valid driver’s license),
                            temporary worker visa, or green card that was valid as of
                            April 20, 2010 for the Claimant, or a print out from a public
                            database providing the same information as would be
                            provided by the original document;


                            AND

                     ii.    Evidence the Claimant was at least 16 years of age as of
                            April 20, 2010. Acceptable evidence includes a copy of a
                            valid driver’s license, a valid passport, a certified copy of
                            the Claimant’s birth certificate, or a print out from a public
                            database providing the same information as would be
                            provided by the original document.

               b.    Licensing Documentation: If Claimant’s employment requires a
                     government-issued license/permit, a copy of valid 2009 or 2010
                     licenses (even if it had expired), if appropriate, or a print out from
                     a public database providing the same information as would be
                     provided by the original document.

               c.    Work Availability: A statement and documentation sufficient to
                     establish that the Claimant was present and available to work in
                     close enough proximity to the location of employment to travel to
                     the job as frequently as required by the employer during the period
                     from April 21, 2010 through December 31, 2010.

                     i.     Documentation that could demonstrate presence and
                            availability includes, but is not limited to, the following:

                            (A)     Proof of home ownership and address; or

                            (B)     A lease or rental agreement; or

                            (C)     A sublease agreement; or

                            (D)     Contemporaneous utility bills.

                                       69
                                                                                     029376
  Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 81 of 96




                           ii.    Documentation that could demonstrate location of
                                  employment includes, but is not limited to, the following:

                                  (A)     Employer’s business name and address; or

                                  (B)     Jobsite location; or

                                  (C)     Docking and port information for a vessel.

             3.     Seafood Spill-Related Payments:

      The Claimant shall provide a Sworn Written Statement attesting whether or not the
      Claimant received any Seafood Spill-Related Payments. If the Claimant received
      Seafood Spill-Related Payments, the Claimant shall provide documents sufficient to
      establish the timing, amount and source of Seafood Spill-Related Payments, including
      documents providing the claimant’s BP/GCCF/Transition Facility Claim Number, if
      applicable, and any corresponding payments.

       B.     Causation Requirements

      For Claimant’s who satisfy the Documentation Requirements, the DWH Spill shall be
      presumed to be the cause of the Claimant’s lost earnings for a Claiming Job.

       C.     RTP

      An RTP of 2.25 shall apply to all Claimants with claims that qualify for compensation
      under Category I of this Seafood Crew Compensation Plan.

       D.     Compensation Calculation

      The Claims Administrator shall use Tax Information Documents and/or Pay Period
      Earnings Documentation and/or other supporting documentation provided by the
      Claimant to calculate the Claimant’s lost earnings from the Claiming Job. The
      Claimant’s lost earnings shall be calculated as 37% of the average Actual Earnings from
      the Claiming Jobs held by the Claimant during the Benchmark Period. The Claimant
      shall receive a lump-sum payment of this amount. Claimants who provide documents
      sufficient to prove Work Availability as set forth in Section I.A.2.c above will also
      receive the applicable RTP.

II.   INDIVIDUAL CLAIMANTS WITHOUT TAX INFORMATION OR PAY
      PERIOD EARNINGS DOCUMENTATION WHO SUBMIT A CLAIMANT
      SWORN WRITTEN STATEMENT AND EMPLOYER SWORN WRITTEN
      STATEMENT TO ESTABLISH EARNINGS

      Category II is open to all eligible Class Members who anticipated working in the
      Seafood Industry in 2010 and can provide sufficient documentation as set forth below,
      through two alternative methods. First, any Claimant who does not have sufficient Tax
      Information Documents or Pay Period Earnings Documentation for the Claiming

                                            70
                                                                                       029377
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 82 of 96




    Job evidencing the Claimant’s earnings during 2009 may instead establish lost earnings
    and causation by submitting, in addition to a Sworn Claim Form, (a) a Claimant Sworn
    Written Statement with specified contents (see below), (b) one or more Employer
    Sworn Written Statement(s) providing information for 2009, and (c) any other specified
    documentation (see below). If the Claimant submits an Employer Sworn Written
    Statement from a parent, grandparent, child, grandchild, spouse, brother, sister, aunt,
    uncle, niece, nephew, brother-in-law, sister-in-law, step-parent, step-brother, step-sister
    or step-child of the Claimant, then the Claimant shall submit an additional Sponsor
    Sworn Written Statement from a person not related to the Claimant. The Claimant’s
    compensation shall be calculated as set forth in Section II.D below and shall be based on
    the earnings from 2009 in the Benchmark Period and the applicable RTP.

    In addition, Claimants who can establish that they were offered and accepted
    employment in a Claiming Job prior to April 20, 2010 for the period of April 20, 2010
    through December 31, 2010 and that the offer was withdrawn or rescinded in whole or
    part after April 20, 2010 may establish lost earnings and causation by submitting, in
    addition to a Sworn Claim Form, (a) a Claimant Sworn Written Statement with
    specified contents (see below), (b) one or more Employer Sworn Written Statements(s)
    providing information related to the job offer, and (c) any other specific documentation
    (see below).

    All Claimants who seek compensation under Category II shall submit the Sworn Claim
    Form and all necessary documents in a final and complete form no later than the Bar
    Date. Any claim that is not filed as of the Bar Date shall be rejected, and the Claimant
    shall receive no compensation under this Settlement Agreement for the Claimant’s lost
    earnings for the Claiming Job.

    The Claims Administrator shall receive and process claims under Category II as
    required to allow for Claimant and/or the Claims Administrator to supplement the claim
    or acquire any additional necessary information or documentation. However, no
    Category II claim shall be paid until after the Bar Date. After the Bar Date, the Claims
    Administrator shall process as expeditiously as possible all timely submitted claims as
    described in further detail in Section II.C below.

     A.     Documentation And Causation Requirements:

    A Category II claimant must provide a Sworn Claim Form and the documents identified
    below. The Claims Administrator shall review and assess the documentation provided
    by the Claimant, including information from the Claimant’s employer(s), and any other
    information deemed relevant by the Claims Administrator, for purposes of determining
    whether the Claimant had earnings in 2009 from employment as a Seafood First Mate,
    Seafood Second Mate, Seafood Boatswain or Seafood Deckhand or whether the
    Claimant had a legitimate job offer that was rescinded or withdrawn in whole or in part
    for employment as a Seafood First Mate, Seafood Second Mate, Seafood Boatswain
    or Seafood Deckhand. The Claims Administrator shall rely on his assessment of the
    credibility and reliability of the information submitted in determining if the causation


                                            71
                                                                                         029378
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 83 of 96




    requirement is satisfied and the amount of any lost earnings arising out of the harvesting
    of Seafood due to the Deepwater Horizon oil spill.

           1.     Claimant Sworn Written Statement: The Claimant shall submit a
                  Claimant Sworn Written Statement which sets forth all of the following
                  information and shall attach any relevant documents in Claimant’s
                  possession:

                  a.      The Claimant’s employment history with each employer,
                          including, for example, the nature of the work performed, number
                          of years worked, whether the employment is steady or seasonal,
                          year-round or intermittent, and the circumstances of the Claimant’s
                          departure and/or termination, if applicable. At a minimum, the
                          Claimant shall include for each of the Claimant’s employers in
                          2009, the business name, last known address and telephone
                          number.

                  b.      The Claimant’s income from all sources in 2009, and any other
                          earnings history that the Claimant believes is relevant to support
                          the claim, including any support for the Claimant’s belief that
                          these actual earned amounts are accurate.

                  c.      A statement attesting whether or not the Claimant received any
                          Seafood Spill-Related Payments. If the Claimant received Spill-
                          Related Payments, the Claimant shall provide documents sufficient
                          to establish the timing, amount and source of Seafood Spill-
                          Related Payments, including documents providing the claimant’s
                          BP/GCCF/Transition Facility Claim Number, if applicable, and
                          any corresponding payments.

                  d.      Work Availability: A statement and documents sufficient to
                          establish that the Claimant was present and available to work in
                          close enough proximity to the anticipated location of employment
                          to travel to the job as frequently as required by the employer
                          during the period from April 21, 2010 through December 31, 2010.

                          i.     To be potentially eligible for an RTP, the Claimant must
                                 satisfy the above requirement for the period April 21, 2010
                                 through December 31, 2010.

                          ii.    Documentation that could demonstrate presence and
                                 availability includes, but is not limited to, the following:

                                 (A)     A lease or rental agreement; or

                                 (B)     A sublease agreement; or

                                 (C)     Contemporaneous utility bills.

                                           72
                                                                                        029379
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 84 of 96




                        iii.    Documentation that could demonstrate location of
                                employment includes, but is not limited to, the following:

                                (A)    Employer’s business name and address; or

                                (B)    Jobsite location; or

                                (C)    Docking and port information for a vessel.

                 e.     If the Claimant is seeking compensation based on a job offer, the
                        Claimant shall provide proof of an offer of employment made and
                        accepted prior to April 20, 2010 for employment between April 21
                        and December 31, 2010. The proof must include information
                        sufficient to establish proposed start and end dates, wage rates and
                        projected hours, and withdrawal in whole or part of the offer
                        during the period April 21 through December 31, 2010.

          2.     Claimant Employability Documentation:

          In order to prove employability, the Claimant should provide both:

                 a.     A copy of a Social Security card, government-issued identification
                        (for example, a valid driver’s license), temporary worker visa, or
                        green card that was valid as of April 20, 2010, or a print out from a
                        public database providing the same information as would be
                        provided by the original document.

                        AND

                 b.     Evidence that the Claimant was at least 16 years of age as of April
                        20, 2010. Acceptable evidence includes a valid driver’s license, a
                        valid passport, or a copy of the Claimant’s birth certificate, or a
                        print out from a public database providing the same information as
                        would be provided by the original document.

          3.     Licensing Documentation: If the Claimant’s employment in the
                 Claiming Job requires a government-issued license/permit, the Claimant
                 shall provide a copy of 2009 license(s) (even if it had expired), or a print
                 out from a public database providing the same information as would be
                 provided by the original document.

          4.     Employer Sworn Written Statement: The Claimant shall submit an
                 Employer Sworn Written Statement from at least one of the Claimant’s
                 employers for 2009, which sets forth the following information with any
                 relevant documents attached.




                                          73
                                                                                       029380
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 85 of 96




               a.    Employer Information

                     i.      Employer’s business name

                     ii.     Address(es)

                     iii.    Telephone number(s)

                     iv.     Website(s), if available

                     v.      A description of the nature of the business

                     vi.     Compensation practices (for example, weekly or bi-weekly
                             pay periods), wage rates, and typical hours worked for
                             employees holding jobs comparable to the Claiming Job.

                     vii.    The size and scale of the employer’s business, such as:

                             (A)    Size of the vessel;

                             (B)    Best estimate of the number of customers;

                             (C)    Best estimate of the volume of product produced
                                    (such as volume of seafood harvested);

                             (D)    Best estimate of the number of full-time and part-
                                    time employees; or,

                             (E)    Financial information

                     viii.   The number of Employer Sworn Written Statements
                             submitted on behalf of any Seafood Crew Compensation
                             Plan.

               b.    Employee Information

                     i.      The Claimant’s employment history with employer,
                             including, for example, the nature of the work performed,
                             number of years worked, whether the employment is steady
                             or seasonal, year-round or intermittent, and the
                             circumstances of the Claimant’s departure and/or
                             termination, if applicable.

                     ii.     The Claimant’s wage rate and total compensation for 2009.
                             If the employer cannot provide precise actual dates and
                             times, it shall be sufficient for the employer to provide
                             more general information satisfying this standard – for
                             example, “Claimant was employed for 30 days at a rate of


                                       74
                                                                                   029381
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 86 of 96




                                 $100 per day for 12 weeks during the months of June -
                                 August 2009”.

                          iii.   If the employer (i) employed the Claimant and/or
                                 (ii) offered the Claimant employment during the period
                                 from April 20, 2010 to December 31, 2010, the employer
                                 shall provide the following:

                                 (A)     How the employer (a) terminated the Claimant’s
                                         employment, (b) reduced the Claimant’s hours of
                                         work, (c) withdrew an offer of employment, (d) did
                                         not extend an offer of seasonal (partial year)
                                         employment to the Claimant, or (e) otherwise
                                         reduced employee’s compensation due to or
                                         resulting from the DWH Spill with sufficient detail
                                         to permit the Claims Administrator to calculate
                                         the Claimant’s lost hours of work and lost earnings
                                         from such employment during such period.

                                 (B)     A specific explanation of how (i) the reduction of
                                         Claimant’s hours of work, or (ii) the withdrawal of,
                                         or (iii) the failure to extend, an offer of employment
                                         was due to or resulting from the DWH Spill.

    The number of Employer Sworn Written Statements submitted by an employer on
    behalf of the Claimant and any other Claimants shall be monitored by the Claims
    Administrator for reasonableness in light of the employer’s operations. For example, it
    would be anticipated that a 45-foot boat would have approximately two full-time
    equivalent employees, or that a 75-foot boat would have approximately three full-time
    equivalent employees.

           5.     Sponsor Sworn Written Statement:

    If the Claimant submits an Employer Sworn Written Statement from a parent,
    grandparent, child, grandchild, spouse, brother, sister, aunt, uncle, niece, nephew,
    brother-in-law, sister-in-law, step-parent, step-brother, step-sister or step-child of the
    Claimant, the Claimant shall also submit a Sponsor Sworn Written Statement which
    sets forth the following information with any relevant documents attached.

                  a.      The sponsor’s name, address, daytime and evening telephone
                          numbers, Social Security number or government issued
                          identification number, and the length of time the sponsor has
                          resided at their current address.

                  b.      A statement that a true and correct copy of one (or more) of the
                          following forms of valid identification of the sponsor is attached:
                          valid driver’s license, Social Security card, valid U.S. Passport,


                                           75
                                                                                         029382
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 87 of 96




                                   Green Card, and attached copies, or verification from a public
                                   database that the sponsor has one or more of the listed items.

                          c.       The sponsor’s relationship to the Claimant, which must be other
                                   than the parent, grandparent, child, grandchild, spouse, brother,
                                   sister, aunt, uncle, niece, nephew, brother-in-law, sister-in-law,
                                   step-parent, step-sister, step-brother or step-child of the Claimant
                                   and the basis for the sponsor’s personal knowledge of the
                                   Claimant’s employment.14

                          d.       A description of the Claimant’s employment prior to April 20,
                                   2010, if relevant, the Claimant’s expected employment as a
                                   Seafood First Mate, Seafood Second Mate, Seafood Boatswain,
                                   or Seafood Deckhand thereafter, and the sponsor’s basis of
                                   knowledge for these facts.

                                   i.      An explanation of how the reduction of Claimant’s hours of
                                           work, termination of the Claimant’s employment, or
                                           withdrawal of an offer of employment during the period
                                           from April 21, 2010 through December 31, 2010, was due
                                           to or resulting from the DWH Spill and the sponsor’s basis
                                           of knowledge for these facts.

                                   ii.     A representation that the sponsor has not submitted a
                                           Sponsor Sworn Written Statement for more than ten
                                           other claimants.

                                   iii.    A representation that the sponsor understands and
                                           acknowledges that the Claims Administrator will rely on
                                           statements in the Sponsor Sworn Written Statement,
                                           which acknowledgement the sponsor verifies under penalty
                                           of perjury is true and correct.

                                   iv.     A representation that the sponsor understands that
                                           fraudulent claims and statements will be prosecuted to the
                                           full extent of the law.

           B.      Interviews

                  1.      The Claims Administrator shall have the right to interview all Claimants,
                          employer(s) and sponsor(s) as the Claims Administrator deems
                          appropriate. For example, if an employer submits Employee Sworn
                          Statements on behalf of more employees than the Claims Administrator
                          determines could reasonably have been employed in the job by the

14
      The standard to be applied is whether or not the Sponsor’s statement contains facts that would allow the
      Sponsor to testify under the Federal Rules of Evidence as being within the Sponsor’s personal knowledge.


                                                      76
                                                                                                       029383
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 88 of 96




                  employer, then the Claims Administrator may determine an interview of
                  the employer is appropriate. The Claims Administrator shall follow the
                  Interview Guidelines contained in Exhibit 83 of the Deepwater Horizon
                  Economic and Property Settlement Agreement (Addendum to Individuals
                  Framework - Interviews of Claimants Alleging Individual Economic Loss
                  and Other Individuals Providing Sworn Statements in Support of Such a
                  Claim).

     C.     RTP

    An RTP of 2.25 shall apply only to Claimants with claims that qualify for compensation
    under Category II of this Seafood Compensation Plan and who provide documents
    sufficient to prove Work Availability as set forth in Section II.A.1.d above.

     D.     Description Of Compensation Calculation And Distribution Of Payments

    The Claims Administrator shall determine the amount of Claimant’s lost earnings
    relating to employment by a Commercial Fisherman due to or resulting from the
    Deepwater Horizon oil spill based on the totality of the information provided by the
    Claimant and the Claimant’s employer(s), including the Sworn Claim Form, the
    Claimant Sworn Written Statement, the Employer Sworn Written Statement(s), and,
    if applicable, the Sponsor Sworn Written Statement(s), and any other supporting
    documentation provided by the Claimant. The Claims Administrator cannot rely solely
    on the Claimant Sworn Written Statement for proof of lost earnings.

    The Claims Administrator shall receive and process claims under Category II as
    required to allow for Claimants and/or the Claims Administrator to supplement the
    claim or acquire any additional necessary information or documentation. No Category II
    claim shall be paid until after the Bar Date. After the Bar Date for Category II claims,
    the Claims Administrator shall determine whether each Claimant who timely submitted
    a Category II claim is eligible and qualified to receive compensation.

    The Claims Administrator shall determine compensation for Category II Claimants as
    follows. For claimants that establish a valid job offer, their lost potential earnings
    relating to potential employment by a Commercial Fisherman due to or resulting from
    the Deepwater Horizon oil spill shall be calculated as the wages that the Claims
    Administrator establishes would have been earned from April 21, 2010 through
    December 31, 2010. For example, if the Claimant validly established a qualifying job
    offer for 40 hours per week that was revoked, the Claimant could establish lost earnings
    of the hourly wage times 40 hours per week times 36 weeks.

    For Category II claimants, the Claimant’s base compensation shall be calculated as:
    (i) 37% of the Actual Earnings from the Claiming Jobs held by the Claimant during the
    Benchmark Period; or, (ii) as 37% of the Claimant’s potential earnings for April 20,
    2010 through December 31, 2010.

    The Claimant shall receive a lump-sum payment equal to the Claimant’s base
    compensation plus any applicable RTP.
                                           77
                                                                                      029384
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 89 of 96




       No Claimant in Category II shall receive more than $9,500 in base compensation before
       application of the RTP. Further, if the total aggregate amount of Category II
       compensation claims for all claimants who have timely submitted eligible and qualifying
       Category II claims exceeds the Aggregate Compensation Amount for Category II,
       then Category II claimants will be subject to a pro rata reduction in compensation. If the
       Aggregate Compensation Amount for Category II is not exhausted, then any
       remaining amount within the Aggregate Compensation Amount for Category II shall
       be distributed as part of the balance described in the “General Framework and Overview
       of Seafood Compensation Program Distribution” Section of the Seafood Compensation
       Program.

       There are no appeal process rights available under Category II of the Seafood Crew
       Compensation Plan. The decision of the Claims Administrator is final and not
       appealable.

III.   CLAIMANTS WITHOUT TAX INFORMATION OR PAY PERIOD EARNINGS
       DOCUMENTATION WHO SUBMIT A CLAIMANT SWORN WRITTEN
       STATEMENT,    SPONSOR SWORN WRITTEN STATEMENT(S) AND
       ATTORNEY SWORN WRITTEN STATEMENT (IF APPLICABLE) TO
       ESTABLISH EARNINGS

       Any Claimant who does not have Tax Information Documents or Pay Period Earnings
       Documentation for the Claiming Job evidencing the Claimant’s earnings during 2009
       may instead establish lost earnings and causation, by submitting in addition to a Sworn
       Claim Form: (a) a Claimant Sworn Written Statement with specified contents,
       (b) one or more Sponsor Sworn Written Statement(s) and/or one or more Attorney
       Sworn Written Statements(s), and (c) any other specified documentation. In addition,
       the Claims Administrator may interview the Claimant and/or the sponsor(s) and/or the
       attorney(s) if the Claims Administrator determines an interview is appropriate.

       All Claimants who seek compensation under Category III shall submit the Sworn Claim
       Form and all necessary documents in a final and complete form no later than the Bar
       Date. Any claim that is not filed as of the Bar Date shall be rejected, and the Claimant
       shall receive no compensation under this Settlement Agreement for the Claimant’s lost
       earnings for the Claiming Job.

       The Claims Administrator shall receive and process claims under Category III as
       required to allow for Claimants and/or the Claims Administrator to supplement the
       claim or acquire any additional necessary information or documentation. However, no
       Category III claim shall be paid until after the Bar Date. After the Bar Date, the Claims
       Administrator shall process as expeditiously as possible all timely submitted claims as
       described in further detail in subsection C below.

       There are no appeal process rights available under Category III of the Seafood Crew
       Compensation Plan. The decision of the Claims Administrator is final and not
       appealable.


                                              78
                                                                                           029385
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 90 of 96




     A.     Documentation And Causation Requirements:

    A Category III claimant must provide a Sworn Claim Form and all of the documents
    identified below. The Claims Administrator shall review and assess the documentation
    provided by the Claimant, including information from the Claimant’s sponsor(s) and/or
    attorney(s), and any other information deemed relevant by the Claims Administrator,
    for purposes of determining whether the Claimant had Actual Earnings in 2009 from
    employment as a Seafood First Mate, Seafood Second Mate, Seafood Boatswain or
    Seafood Deckhand. The Claims Administrator shall rely on his assessment of the
    credibility and reliability of the information submitted in determining if the causation
    requirement is satisfied and the amount of any lost earnings relating to employment by a
    Commercial Fisherman due to or resulting from the Deepwater Horizon oil spill.

           1.     Claimant Sworn Written Statement: The Claimant shall submit a
                  Claimant Sworn Written Statement which sets forth all of the following
                  information and shall attach any relevant documents in Claimant’s
                  possession:

                  a.     Information about each employer for whom a claimant worked at
                         any time in 2009 and/or 2010, including, for example, the nature of
                         the work performed, number of years worked, whether the
                         employment is steady or seasonal, year-round or intermittent, and
                         the circumstances of the Claimant’s departure and/or termination,
                         if applicable. At a minimum, the Claimant shall include the
                         following:

                         i.      The business name, last known address, and telephone
                                 number of each of Claimant’s employers for 2009 and/or
                                 2010.

                  b.     The Claimant’s actual earned income from all sources in 2009 and
                         2010, and any other earnings history that the Claimant believes is
                         relevant to support the claim, including any support for the
                         Claimant’s belief that these actual earned amounts are accurate.

                  c.     An explanation of how the reduction of Claimant’s hours of work,
                         termination of the Claimant’s employment, and/or withdrawal of
                         an offer of employment related to the Claiming Job(s) for the
                         period from April 21 through December 31, 2010 was due to or
                         resulting from the DWH Spill.

                  d.     The name, address and telephone number of any individual
                         submitting a Sponsor Sworn Written Statement and the
                         Claimant’s relationship to such sponsor and/or the name, address
                         and telephone number of an attorney submitting an Attorney
                         Sworn Written Statement.



                                           79
                                                                                      029386
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 91 of 96




                 e.      A Sworn Statement attesting whether or not the Claimant received
                         any Seafood Spill-Related Payments. If the Claimant received
                         Seafood Spill-Related Payments, the Claimant shall provide
                         documents sufficient to establish the timing, amount and source of
                         Seafood Spill-Related Payments, including documents providing
                         the claimant’s BP/GCCF/Transition Facility Claim Number, if
                         applicable, and any corresponding payments.

                 f.      A statement and documents sufficient to establish that the
                         Claimant was present and available to work in close enough
                         proximity to the anticipated location of employment to travel to the
                         job as frequently as required by the employer during the period
                         from April 21, 2010 through December 31, 2010.

                         i.     Documentation that could demonstrate presence and
                                availability includes, but is not limited to, the following:

                                (A)     A lease or rental agreement; or

                                (B)     A sublease agreement; or

                                (C)     Contemporaneous utility bills.

                         ii.    Documentation that could demonstrate the location of
                                employment or anticipated location of employment
                                includes, but is not limited to, the following:

                                (A)     Employer’s business name and address; or

                                (B)     Jobsite location; or

                                (C)     Docking and port information for a vessel.

          2.     Claimant Employability Documentation:

          Consists of both:

                 a.      A copy of a Social Security card, government-issued identification
                         (for example, a valid driver’s license), temporary worker visa, or
                         green card that was valid as of April 20, 2010, or a print out from a
                         public database providing the same information as would be
                         provided by the original document.

                         AND

                 b.      Evidence that the Claimant was at least 16 years of age as of April
                         20, 2010. Acceptable evidence includes a valid driver’s license, a
                         valid passport, or a copy of the Claimant’s birth certificate, or a

                                          80
                                                                                        029387
Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 92 of 96




                      print out from a public database providing the same information as
                      would be provided by the original document.

          3.   Licensing Documentation: If the Claimant’s employment in the
               Claiming Job requires a government-issued license/permit, the Claimant
               shall provide a copy of valid 2009 and/or 2010 licenses (even if it had
               expired before that date), or a print out from a public database providing
               the same information as would be provided by the original document.

          4.   Sponsor Sworn Written Statements and/or Attorney Sworn Written
               Statement: In addition to the Claimant Sworn Statement, the Claimant
               must submit two additional Sworn Written Statements. The Claimant
               shall be required to submit an Attorney Sworn Written Statement if an
               attorney:

               a.     submitted or pursued a claim on the Claimant’s behalf in the OPA
                      Process, or,

               b.     submitted or pursued a claim on the Claimant’s behalf in the
                      Transition Process, or,

               c.     submitted or pursued any claim on the Claimant’s behalf in the
                      Deepwater Horizon Economic Litigation, such as a Plaintiff
                      Profile Form or Short Form Joinder, or

               d.     represents the Claimant for any claims arising from, or related to,
                      the Deepwater Horizon Incident.

               If the attorney for the Claimant has withdrawn his or her representation of
               the Claimant, then the Claimant will not be required to submit an
               Attorney Sworn Written Statement. In addition to the Attorney Sworn
               Written Statement, the Claimant shall also submit a Sponsor Sworn
               Written Statement. A sponsor who submits a Sponsor Sworn Written
               Statement may not be the parent, grandparent, child, grandchild, spouse,
               brother, sister, aunt, uncle, niece, nephew, brother-in-law, sister-in-law,
               step-parent, step-brother, step-sister or step-child of the Claimant, unless
               such sponsor employed the Claimant at some time during 2009 or 2010.

               If the Claimant is not required to submit an Attorney Sworn Written
               Statement as set forth above, the Claimant must submit either two
               Sponsor Sworn Written Statements (at least one sponsor must be
               unrelated to the Claimant) or a Sponsor Sworn Written Statement and
               an Attorney Sworn Written Statement.

               e.     Sponsor Sworn Written Statement: a Sponsor Sworn Written
                      Statement must include the following information:



                                        81
                                                                                     029388
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 93 of 96




                                   i.      The sponsor’s name, address, daytime and evening
                                           telephone numbers, Social Security number or government
                                           issued identification number, and the length of time the
                                           sponsor has resided at their current address.

                                   ii.     A statement that a true and correct copy of one (or more) of
                                           the following forms of valid identification of the sponsor is
                                           attached: valid driver’s license, Social Security card, valid
                                           U.S. Passport, Green Card, and attached copies, or
                                           verification from a public database that the sponsor has one
                                           or more of the listed items.

                                   iii.    The sponsor’s relationship to the Claimant, which must be
                                           other than the parent, grandparent, child, grandchild,
                                           spouse, brother, sister, aunt, uncle, , niece, nephew,
                                           brother-in-law, sister-in-law, step-parent, step-sister, step-
                                           brother or step-child of the Claimant unless such person
                                           was the Claimant’s employer in 2009 or 2010 and the basis
                                           for the sponsor’s personal knowledge of the Claimant’s
                                           employment.15

                                   iv.     A description of the Claimant’s employment prior to
                                           April 20, 2010, and, if relevant, the Claimant’s expected
                                           employment as a Seafood First Mate, Seafood Second
                                           Mate, Seafood Boatswain, or Seafood Deckhand
                                           thereafter, and the sponsor’s basis of knowledge for these
                                           facts.

                                   v.      An explanation of how the reduction of Claimant’s hours of
                                           work, termination of the Claimant’s employment, or
                                           withdrawal of an offer of employment during the period
                                           from April 21, 2010 through December 31, 2010, was due
                                           to or resulting from the DWH Spill and the sponsor’s basis
                                           of knowledge for these facts.

                                   vi.     A representation that the sponsor has not submitted a
                                           Sponsor Sworn Written Statement for more than ten
                                           other claimants.

                                   vii.    A representation that the sponsor understands and
                                           acknowledges that the Claims Administrator will rely on
                                           statements in the Sponsor Sworn Written Statement,
                                           which acknowledgement the sponsor verifies under penalty
                                           of perjury is true and correct.

15
      The standard to be applied is whether or not the Sponsor’s statement contains facts that would allow the
      Sponsor to testify under the Federal Rules of Evidence as being within the Sponsors personal knowledge.


                                                      82
                                                                                                       029389
     Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 94 of 96




                                     viii.    A representation that the sponsor understands that
                                              fraudulent claims and statements will be prosecuted to the
                                              full extent of the law.

                            f.       Attorney Sworn Written Statement: an Attorney Sworn
                                     Written Statement must include the following information:

                                     i.       The attorney’s full name, office address, office telephone
                                              number, and email address.

                                     ii.      The attorney’s Bar Association membership number.

                                     iii.     The attorney’s relationship to the Claimant, including a
                                              description of when the attorney began representation of
                                              the Claimant, and the scope of such representation.

                                     iv.      A representation that the attorney has made a reasonable
                                              investigation of the Claimant’s Sworn Claim Form and
                                              Claimant Sworn Written Statement and that the
                                              attorney’s findings are, to the best of the Attorney’s
                                              knowledge, reasonably consistent with the content of such
                                              Claim Form and Claimant Sworn Written Statement.
                                              Such investigation shall be made by the attorney or a
                                              member of the attorney’s staff. If a member of the
                                              attorney’s staff makes the investigation, the Attorney
                                              Sworn Written Statement shall identify the staff member.
                                              Furthermore, whether the attorney or a staff member makes
                                              the investigation, the Attorney Sworn Written Statement
                                              shall state with specificity what steps were taken in the
                                              investigation in conducting the investigation.

                                     v.       A representation that the attorney understands and
                                              acknowledges that the Claims Administrator will rely on
                                              statements in the Attorney Sworn Written Statement, which
                                              acknowledgement the attorney verifies under penalty of
                                              perjury is true and correct.

           B.       Interviews

                   1.       The Claims Administrator shall have the right to interview all Claimants
                            and related sponsor(s) and/or attorney(s) in this Category III if the Claims
                            Administrator determines an interview is appropriate.16 The Claims

16
      In addition, nothing in this Seafood Crew Compensation Program shall in any way limit the right and
      obligation of the Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf
      of any claimant, including but not limited to conducting any interviews and obtaining any documents the
      Claims Administrator deems necessary.


                                                          83
                                                                                                               029390
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 95 of 96




                      Administrator shall follow the Interview Guidelines contained in the
                      Deepwater Horizon Economic and Property Settlement Agreement.

        C.     Description Of Compensation Calculation And Distribution Of Payments

The Claims Administrator shall determine whether the Claimant is eligible and qualified to
receive compensation for a Category III claim based on the totality of the information provided
by the Claimant, the Claimant’s sponsor(s), and the Claimant’s attorney, including the Sworn
Claim Form, the Claimant Sworn Written Statement, the Claimant Employability
Documentation, the Licensing Documentation, the Sponsor Sworn Written Statement
and/or the Attorney Sworn Written Statement, any other supporting documentation provided
by the Claimant, and any additional interviews or information as deemed appropriate by the
Claims Administrator. The Claimant is eligible and qualified to receive compensation for a
Category III claim if the Claims Administrator determines, based upon this information, that
the Claimant had actual earnings from employment as a Seafood First Mate, Seafood Second
Mate, Seafood Boatswain, or Seafood Deckhand during the time period of January 1, 2009
through April 20, 2010.

The Claims Administrator shall receive and process claims under Category III as required to
allow for Claimants and/or the Claims Administrator to supplement the claim or acquire any
additional necessary information or documentation. No Category III claim shall be paid until
after the Bar Date. After the Bar Date for Category III claims, the Claims Administrator shall
determine whether each Claimant who timely submitted a Category III claim is eligible and
qualified to receive compensation. If the Claims Administrator determines that a Claimant is
eligible and qualified to receive compensation for a Category III claim, the Claimant shall
receive a lump-sum payment of $5,000. If the total aggregate amount of Category III
compensation claims for all claimants who have timely submitted eligible and qualifying
Category III claims exceeds the Aggregate Compensation Amount for Category III, then
Category III Claimants will be subject to a pro rata reduction in compensation. If the Aggregate
Compensation Amount for Category III is not exhausted, then any remaining amount within
the Aggregate Compensation Amount for Category III shall be distributed as part of the
balance described in the “General Framework and Overview of Seafood Compensation Program
Distribution” Section of the Seafood Compensation Program.




                                              84
                                                                                          029391
 Case 2:10-md-02179-CJB-DPC Document 6430-22 Filed 05/03/12 Page 96 of 96




              SEAFOOD SPILL-PAYMENT REDUCTION PROCEDURES

If the Claims Administrator determines that the Claimant has received Seafood Spill-Related
Payments, the Claims Administrator shall offset any compensation under the Seafood
Compensation Program by the total of the Seafood Spill-Related Payment amount. If a Claimant
qualifies for compensation under multiple provisions of the Seafood Compensation Program, the
Seafood Spill-Related Payment is only applied once. For example, if a Claimant qualifies to
receive: (i) $275,563 under the Shrimp Reduced Expedited Compensation Program; (ii) $32,000
under the Blue Crab/Other Seafood Compensation Program; and (iii) received $25,000 in
Seafood Spill-Related Payments, his compensation under the Seafood Compensation Program
would be: $282,563 ($275,563 + $32,000 - $25,000).




                                             85
                                                                                       029392
